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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE:                                25-md-3143 (SHS) (OTW)
OPENAI, INC.,                         JOINT INITIAL CASE MANAGEMENT
                                      CONFERENCE STATEMENT
COPYRIGHT INFRINGEMENT
LITIGATION



This Document Relates To:


All Actions




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         Pursuant to Case Management Order No. 1, the parties jointly submit the following report

in advance of the Initial Case Management Conference scheduled for May 22, 2025, at 10:00 am.

I.       PROPOSED AGENDA
         The parties propose the following agenda for the initial conference.

              •   Appointment of plaintiffs’ Leadership Counsel – see Section II

              •   Consolidated class action pleading – see Section IV

              •   Scheduling – see Section V

              •   Deposition protocol – see Section V

              •   Technology tutorial – see Section V

II.      APPOINTMENT OF LEADERSHIP COUNSEL

         A.       Plaintiffs’ Positions
         All plaintiffs agree that two leadership counsels are warranted: one for the News

Plaintiffs, and one for the Class Action Plaintiffs. For purposes of this leadership framework,

“News Plaintiffs” include The New York Times Company, 1 the Daily News Plaintiffs, 2 Raw

Story Media, Inc. and AlterNet Media Inc, 3 The Intercept Media, Inc., 4 The Center for

Investigative Reporting Inc., 5 as well as Ziff Davis, Inc. 6 The “Class Action Plaintiffs” include

the Tremblay plaintiffs, 7 and the Authors Guild plaintiffs. 8 Because the Millette action involves a


1
  The New York Times Company v. Microsoft Corp. (No. 1: 23-cv-11195).
2
  Daily News, LP et al. v. Microsoft Corp. (No. 1:24-cv-3285).
3
  Raw Story Media, Inc. et al. v. OpenAI, Inc. (No. 1:24−01514).
4
  The Intercept Media, Inc. v. OpenAI, Inc. (No. 1:24-cv-01515).
5
  The Center for Investigative Reporting, Inc. v. OpenAI, Inc. (No. 1:24-cv-04872).
6
  Ziff Davis, Inc., v. OpenAI Inc. (25-cv-0501) (D. Del.).
7
  “Tremblay” refers collectively to three previously consolidated putative class actions pending
in the Northern District of California. See Tremblay v. OpenAI, Inc. (No. 3:23−03223);
Silverman v. OpenAI, Inc., (No. 3:23−03416); Chabon v. OpenAI, Inc. (No. 3:23−04625).
8
  Authors Guild refers collectively to two previously consolidated cases: Authors Guild v.
OpenAI Inc. (No. 1:23-cv-08292); Alter v. OpenAI Inc., (No. 1:23-cv-10211). Basbanes v.
Microsoft Corporation (No. 1:24−00084), which is also subject to the MDL order, remains



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separate group of works and is stayed by agreement of Millette counsel, that case should be

addressed separately, and appointment of leadership counsel for Millette is premature at this

stage. 9

           This proposed framework is consistent with how Magistrate Judge Wang has treated the

cases proceeding before her—i.e., distinguishing the News Cases from the class cases. In effect,

the already consolidated News Cases will be paired with the three newly centralized individual

actions (Raw Story Media, Inc., The Intercept Media, Inc., and Ziff Davis), while the Authors

Guild class action will be paired with the two newly centralized class cases.

           Defendants do not dispute this dual Class/News structure. However, to the extent the

Court finds it valuable, Plaintiffs have set forth below the reasons such a dual structure would be

useful. While plaintiffs are together proposing this leadership framework, each plaintiff group

explains its respective proposal below, starting with the News Plaintiffs.

                  1.     Necessity and Desirability of Leadership Counsel

                         a.      News Plaintiffs’ Position
           MDL courts routinely appoint separate leadership where, as here, the MDL includes two

distinct groups of cases. Here, News Plaintiffs agree with the Court that leadership counsel

should be appointed, but respectfully submit that separate leadership is warranted for the News

Cases and the Class Action Cases, for at least three reasons. First, the News Cases include
lawsuits brought by some of the most prominent and prolific news organizations in the country,

who collectively hold more registered copyrights than certain of the proposed classes, as well as

the nation’s oldest non-profit newsroom and two award-winning digital publishers. For example,

The Times has sued on over 10 million registered copyrights. The Daily News Plaintiffs have

sued on over 4 million registered copyrights. Ziff Davis has sued on over 1 million registered



stayed pending “a ruling on class certification in the consolidated class action litigation [Nos.
1:23-cv-8292; 1:23-cv-10211].” Dkt. 213, No. 1:23-cv-8292.
9
  Millette v. OpenAI, Inc. (No. 5:24−04710).



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copyrights. Center for Investigative Reporting has registered works going back decades, and The

Intercept, Raw Story, and AlterNet have only unregistered works and rely on DMCA claims,

which do not have a registration requirement. These companies, other than Ziff Davis, have been

litigating these actions since December 2023 (The Times), February 2024 (Intercept and Raw

Story/AlterNet), April 2024 (The Daily News), and June 2024 (CIR). Second, three of the News

Cases have already been formally consolidated for reasons that also apply to the three newly

centralized individual actions—namely, all five of these cases are brought by media companies

and implicate factual and legal issues not present in the Class Actions Cases. Notably, the

centralized parties agreed to this framework and have been working cooperatively to efficiently

litigate their cases. Third, and relatedly, Magistrate Judge Wang has already been treating the

News Cases as distinct from the class action cases, and the most efficient path forward is to

follow that same course, particularly, where Defendants waited to seek relief from the JPML

until well into the discovery process. Again, all Plaintiffs support there being two sets of

leadership counsel.

                               (i)     Ample precedent supports Plaintiffs’ proposed
                                       framework.
       As explained by the Bolch Judicial Institute at Duke Law School, for “hybrid” MDLs that

contain both class claims and individual claims, courts “should typically appoint different counsel
to take primary responsibility” for the individual claims, on the one hand, and the class claims, on

the other hand. See 102 Judicature 15, 19 (2018); see also Manual Complex Lit. § 40.22 ¶ 1 & n.1

(4th ed.) (“In litigation involving different types of claims, such as economic injury and personal

injury claims, the court and counsel may wish to create parallel structures for the cases.”);

Elizabeth Chamblee Burch, Collected Wisdom on Selecting Leaders and Managing MDLs at 11,

Georgia University School of Law (Jan. 1, 2022) (“[I]t is extraordinarily important to identify

potential divisions early when choosing leaders to ensure that if structural conflicts of interest exist

among plaintiffs, each subgroup has its own representative at the table . . . .”).

        Take for example the In re Toyota MDL, which addressed alleged defects in Toyota cars



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that caused sudden unintended acceleration, causing both economic and personal injuries. See

Case No. 8:10-ML-02151 (C.D. Cal.). That MDL was comprised of both “economic loss

consumer class actions,” as well as “individual” personal injury cases. Id. Dkt. 80 at 26. The

court observed at the outset that any leadership structure would need to reflect how that MDL

“involves both personal injury actions and actions for economic loss.” Dkt. 3 at 2. Ultimately,

the court appointed separate leadership teams, including “co-lead counsel” for the individual

personal injury claims and a separate “lead counsel committee” for the economic loss class

action claims. Dkt. 169 at 2. Other courts have likewise appointed separate leadership teams

where an MDL is comprised of two categories of cases. E.g., Soon Ja Chun v. Korean Air Lines

Co., 2011 WL 13308721, at *2 (C.D. Cal. Sept. 12, 2011) (describing how the court “appointed

different co-lead counsel to pursue claims on behalf of [two sets of plaintiffs]”); In re Graphics

Processing Units Antitrust Litig., Case No. 07-01826, Dkt. 18 (N.D. Cal. June 4, 2007)

(appointing separate lead counsel for different groups of plaintiffs). This Court should follow the

same path and appoint two separate leadership teams—one for News Plaintiffs and another for

the Class Action Plaintiffs.

                               (ii)   The Court’s prior consolidation order supports
                                      Plaintiffs’ proposed framework.
       Magistrate Judge Wang has already formally consolidated three of the News Cases for
discovery purposes, at Defendants’ request, and the logic underlying that consolidation supports

treating the three newly centralized individual actions as News Cases for purposes of appointing

leadership. See Times Dkt. 304 (order granting Defendants’ motion to formally consolidate The

New York Times case, the Daily News case, and the Center for Investigative Reporting case).

Defendants obtained consolidation by stressing the similarities among the News Cases; in their

words, “[a]ll three cases are brought on behalf of news organizations challenging certain of

Defendants’ artificial intelligence products,” and “[t]he cases bring the same claims, against the

same defendants, accusing the same products.” Times Dkt. 257 at 1; see also Times Dkt. 143 at 7-

8 (Defendants arguing that consolidation is appropriate because “the plaintiffs are all newspaper



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publishers,” and claiming that consolidation would “help alleviate the burdens and inefficiencies

of litigating similar issues across numerous cases”). Like the original three News Cases, the three

newly centralized cases are also individual actions brought on behalf of media companies. See The

Intercept SAC ¶ 7; Raw Story FAC ¶ 7; Ziff Davis Compl. ¶ 34.

       The similarities do not end there. All of the News Plaintiffs’ claims implicate the outputs

of Defendants’ products—a topic less relevant to the Class Action Cases. There is no dispute about

this key distinction; Defendants have repeatedly stressed it, including in their consolidation

motion. Microsoft described how the News Cases “share[]” a “technological focus” that is “distinct

from the [SDNY] Class Actions” because the News Cases “accuse the outputs of the generative

search technology.” Times Dkt. 148 at 2, 7 (emphases added). OpenAI similarly contends that the

News Cases implicate the “outputs” of Defendants’ models and products.

       The claims alleged in the newly centralized individual actions also implicate the outputs of

Defendants’ products. For example, The Intercept alleges that ChatGPT “provide[s] or ha[s]

provided responses to users that regurgitate verbatim or nearly verbatim copyright-protected works

of journalism without providing author, title, copyright, or terms of use information contained in

those works.” The Intercept Dkt. 155 ¶ 64. Judge Rakoff relied on these allegations to deny

OpenAI’s motion to dismiss The Intercept’s DMCA claim under 17 U.S.C. § 1202(b)(1), crediting

The Intercept’s “downstream infringement” theory for how ChatGPT outputs “can facilitate

infringement.” The Intercept Dkt. 127 at 23. The Raw Story Proposed First Amended Complaint

includes identical allegations. See Raw Story Dkt. 119-1 ¶ 64. The Ziff Davis case also implicates

the “outputs” of Defendants’ models and products. See Ziff Davis Dkt. 363 ¶ 109 (alleging that

“OpenAI has generated and continues to generate copies or derivatives of Ziff Davis Works,

including the Registered Works, in outputs from its LLM products”).

       Relatedly, only the News Cases include contributory infringement claims predicated on

end-user infringement. As summarized in this Court’s motion to dismiss opinion, the initial three

News Plaintiffs allege contributory infringement “in the alternative to their direct infringement

claims to the extent third-party end users—not defendants—are found liable for direct


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infringement for generating infringing outputs using defendants’ LLMs.” Times Dkt. 514 at 13.

This Court denied Defendants’ motions to dismiss these claims, reasoning that News Plaintiffs

plausibly allege “copyright infringement by third parties” and that “defendants possessed

constructive, if not actual, knowledge of end-user infringement.” Id. at 16. The Ziff Davis case

includes a similar contributory infringement claim. See Ziff Davis Compl. ¶ 221 (“To the extent

that end-users (both consumers and commercial clients) of OpenAI’s LLM-based products and

services may be found liable for direct infringement of Plaintiffs’ copyrights, OpenAI has

knowingly and materially contributed to this infringement.”).

       Yet another difference between the News Cases and the Class Action Cases is that only the

News Cases currently include DMCA claims. Judge Rakoff denied OpenAI’s motion to dismiss

The Intercept’s § 1202(b)(1) claim against OpenAI. Intercept Dkt. 127. This Court similarly denied

OpenAI’s motion to dismiss the § 1202(b)(1) claims brought by The Daily News Plaintiffs and the

Center for Investigating Reporting. See Times Dkt. 514 at 25 (“The Daily News and CIR

complaints, however, plausibly allege CMI removal during the LLM training process.”). While

this Court dismissed the analogous claim in The Times’s case, The Times has filed an unopposed

motion to amend its complaint to revive that claim by adding allegations that “mirror the Daily

News and CIR complaints.” Times Dkt. 524-1 at 1. The Ziff Davis case includes DMCA claims

pursuant to §§ 1201(a)(1) and 1202(b)(1) and (b)(3). See Ziff Davis Compl. ¶¶ 233-53. Finally,

while currently dismissed and awaiting completion of briefing on plaintiff’s motion to reconsider,

the Raw Story complaint includes just one claim—a DMCA claim under § 1202(b)(1). Raw Story

Dkt. 119-1. By contrast, there is currently no DMCA claim in any of the Class Action Cases,

though the Tremblay plaintiffs have moved for leave to amend their complaint to add a DMCA

claim in their case. Tremblay Dkt. 370 at 8.

       These distinctions between the News Cases and the Class Action Cases will reverberate in

discovery. See, e.g., Times Dkt. 72 at 16 (OpenAI stating that “the scope of discovery [] will differ

substantially”). For example, discovery in these cases will address different products, source code,

and technology, including the Bing search index, Copilot (formerly known as Bing Chat),


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CustomGPTs, SearchGPT, and Browse with Bing. Relatedly, News Plaintiffs have been working

to inspect the output logs from Defendants’ products, which Defendants acknowledge presents

unique challenges. See Dec. 3, 2024 Hearing Tr. at 75:1–78:25 (explaining how Microsoft’s output

logs comprise 15 petabytes of data and “the only way to access [the output logs] is by constructing

and running queries that may be very time consuming”). As another example, the News Cases will

include discovery into how the Defendants acquire news content for copying, including paywall

circumvention and use of web scraping technology. News Plaintiffs will also address damages

models and fair use issues within the market for news content—not books—and will seek unique

discovery into the ways Defendants commercialized their models to compete with News Plaintiffs.

                              (iii)   The Court’s approach to discovery thus far supports
                                      Plaintiffs’ proposed framework.
       Since consolidating the three original News Cases, Magistrate Judge Wang has recognized

the distinctions between the News Cases and the class action cases proceeding before her and

managed the cases accordingly. All four discovery hearings before Judge Wang have included a

News Case portion and a separate class action portion. In advance of each hearing, the parties

submitted two different agendas: one for the News Cases and one for the class action cases. See

Times Dkt. 304 (order directing “the parties to each consolidated case” to “file a joint chart”);

compare, e.g., Times Dkt. 518 (example of a News Case chart), with Authors Guild Dkt. 397
(example of a class action case chart). Consistent with the Court’s consolidation order, News

Plaintiffs have jointly pursued discovery from Defendants, including by jointly requesting

document custodians, jointly requesting search terms, and jointly noticing and taking depositions.

E.g., Times Dkt. 381 (News Plaintiffs’ collective motion to compel Microsoft to apply additional

search terms to its custodians’ ESI). This division has proved workable and productive for the

parties and the court. The most efficient path forward is to treat the three newly centralized

individual actions as News Cases for purposes of appointing leadership.

       Absorbing these actions into the News Cases will be seamless because of the complete

overlap in the law firms that represent the News Plaintiffs. Three of the newly centralized



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individual plaintiffs (The Intercept, Raw Story, and AlterNet) are represented by the same law

firm that represents the Center for Investigative Reporting, which has already been formally

consolidated as a News Plaintiff. Times Dkt. 304. Liaison counsel for the News Plaintiffs has

already been in communication with Klaris Law, counsel for Ziff Davis.

                              (iv)    How News Leadership Counsel Should be Structured.
       News Plaintiffs agree to appoint one lawyer from the Leadership Committee as News

Plaintiffs’ Liaison Counsel. That lawyer will be Davida Brook, of Susman Godfrey. Ms. Brook is

co-lead counsel for the New York Times, and has been involved in this and other pending AI

litigation for the past several years. She has also served as lead or co-lead counsel in numerous

other matters, both class and individual, including Chegg v. Google, the Dominion Voting

Systems cases, Sony Pictures Entertainment v. CBS, CDS Litigation, LLC v. Align Technology,

Inc., et al., and Jane Doe v. MindGeek USA Inc. As part of her role in this action, she has been

regularly appearing before this Court from the inception of this litigation and coordinating with

the other News Plaintiffs for the past several years. Liaison Counsel shall have the administrative

responsibilities defined below.

       News Plaintiffs also agree to appoint a Leadership Committee comprised of the following

four law firms and six attorneys:

           •   Susman Godfrey (counsel for The Times)

                   o Lead: Ian Crosby

                   o Co-Lead: Davida Brook

           •   Rothwell Figg (counsel for The Times and the Daily News Plaintiffs)

                   o Lead: Steven Lieberman

                   o Co-Lead: Jennifer Maisel

           •   Loevy and Loevy (counsel for CIR, The Intercept, Raw Story, and AlterNet)

                   o Lead: Matthew Topic

           •   Klaris Law (counsel for Ziff Davis)




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                   o Lead: Lance Koonce

This Leadership Committee shall have the responsibilities defined below.

       Susman Godfrey and Rothwell Figg should be on the Leadership Committee because these

firms have been involved in these cases longer than any other firm on the News side, and these

firms have devoted substantial time and effort to prosecuting discovery on behalf of the

consolidated News Plaintiffs. Susman Godfrey and Rothwell Figg together represent Plaintiff The

New York Times Company, which filed the first of the five individual actions—on December 27,

2023. When appointing leadership, courts routinely select firms that initiated the operative claims.

See, e.g., In re Insulin Pricing Litig., 2017 WL 4122437, at *3 (D.N.J. Sept. 18, 2017) (appointing

as interim co-lead counsel the two firms who “invested” substantial time “developing the class’s

claim” and “filed the first complaint”); In re Mun. Derivatives Antitrust Litig., 252 F.R.D. 184,

186 (S.D.N.Y. 2008) (appointing as co-lead counsel multiple firms that “filed the first complaints

in this case” and “have a substantial history of investigating the potential claims in this action”).

       Loevy and Loevy should also be on the Leadership Committee. Loevy and Loevy

represents more News Plaintiffs than any other firm on the News team (CIR, The Intercept, Raw

Story, and AlterNet). Moreover, Loevy and Loevy was the first firm on the News team to

overcome a motion to dismiss a DMCA claim, and their clients either have only DMCA claims,

or have DMCA claims that significantly outnumber their copyright infringement claims. See The

Intercept Dkt. 127 at 23 (Order from Judge Rakoff denying OpenAI’s motion to dismiss The

Intercept’s 17 U.S.C. § 1202(b)(1) claim). Klaris Law should be on the Leadership Committee in

light of its extensive experience in copyright and technology law, as well as its client Ziff

Davis’s significant position in the publishing industry, exemplified by the fact that its claims

involve over 1 million registered works. Going forward, counsel for any media companies who

file new individual lawsuits that become centralized within this MDL will not be part of News

Plaintiffs’ Leadership Committee.

       Although they do not oppose a dual leadership structure, Defendants take issue with the

News Plaintiffs proposed structure as apparently there are too many firms on the proposed


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Leadership Committee. This argument rings hollow. The three firms historically representing the

News Plaintiffs have coordinated nearly perfectly to date. For example, there have been no

disputes with different clients, and therefore firms, taking different positions on what the case

schedule should be. There likewise have been zero issues with dividing time for discovery or

even case dispositive oral arguments. The same is true in this joint submission where all News

Plaintiffs — indeed all plaintiffs — agree to a singular schedule and practically everything else.

There is thus zero reason to believe that the News Plaintiffs proposed structure, which largely

mirrors how this case has been efficiently run by the News Plaintiffs to date, will be in any way

problematic.

          That said, News Plaintiffs did recognize the need for a clear point of contact for the

Court, Defendants, Class Plaintiffs, etc., to reach out to should there be any issues. They have

provided that person in the form of Liaison Counsel. The News Plaintiffs understand this to be a

typical structure, particularly for individual cases, in a MDL proceeding such as this. See, e.g.,

Pretrial Order Nos. 2, 36, 89, In re: Generic Digoxin and Doxycycline Antitrust Litigation, 16-

MD-2724. And request the Court adopt it here.

                         b.      Class Plaintiffs’ Position

                                 (i)    Overall Leadership Framework
          Class Plaintiffs agree that leadership counsel should be appointed. Class Plaintiffs also
agree with News Plaintiffs and Defendants that separate leadership is warranted for the News

Cases and the Class Action Cases, largely for the reasons set forth by the News Plaintiffs above.

(Because the Petryazhna action (focused on YouTube videos) involves a separate group of works

and is stayed by agreement of Petrayazhna counsel, that case should be addressed separately, and

appointment of leadership counsel for Millette is premature at this stage. 10)




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     Millette v. OpenAI, Inc. (No. 5:24−04710).



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                               (ii)    How Class Leadership Counsel Should Be Structured
       As explained further below, the Class Plaintiffs propose that four firms should be appointed

as leadership counsel, with two from the Authors Guild Action and two from the Tremblay Action.

This takes as a starting point the current structure, with three interim co-leads, and modifies to

reflect the integration of the Tremblay matter into this case. Class Plaintiffs also propose the

creation of a steering committee with a Chair. Class Plaintiffs’ unanimous leadership

recommendation represents an array of highly skilled counsel with diverse backgrounds and

experience proven by their effective leadership of the Tremblay and Authors Guild matters before

centralization. Class Plaintiffs’ proposal would unify counsel for the Tremblay and Authors Guild

actions and reflects the cooperation and coordination Class Plaintiffs have already engaged

amongst themselves before centralization. Further, Class Plaintiffs’ proposal reflects their

consensus as to what they believe would be the best team that would effectuate the just and speedy

determination of this litigation. Fed. R. Civ. P. 1.

       Specifically, the Class Plaintiffs respectfully request that the Court appoint Lieff Cabraser

Heimann & Bernstein LLP (LCHB), Susman Godfrey LLP (SG), The Joseph Saveri Law Firm,

LLP (JSLF), and Boies Schiller Flexner LLP (BSF) to serve as interim co-lead counsel for the

Class Cases. The Class Plaintiffs also respectfully request that the Court appoint Cafferty Clobes

Meriwether & Sprengel LLP (CCMS) as Chair of the Steering Committee and Cowan, DeBaets,

Abrahams & Sheppard LLP (CDAS) and Matthew Butterick, Esq. as members of the committee.

The steering committee will advise and fully support the co-lead counsel.

       Defendants’ concerns about efficiency are unfounded. As an initial matter, Defendants’

statements that Class Plaintiffs have not been coordinating is belied by the empirical experience

prior even to the creation of the MDL. Class Plaintiffs have been working closely for months (and

as to some issues nearly a year), holding weekly meetings, mirroring and jointly negotiating

subpoenas, presenting an all-Class-Plaintiff deposition protocol to Judge Wang, attending joint

mediations, and coordinating on the substance and dates of depositions. Since the JPML’s

centralization order, that coordination has continued and ramped up demonstrably. For example,



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Plaintiffs have established a subpoena subgroup that has been on every recent email with former

employees, and a representative of each group has attended each meet-and-confer regarding former

employee productions for several weeks. Where Class Plaintiffs have not be able to coordinate, it

was due either to circumstances inherent in separate actions and/or, notably, due to Defendants’

refusal to permit the sharing of protective order material. 11 Both issues can and should be resolved

in this proceeding, see section IX.A.2 below, and present no impediment to Class Plaintiff’s

proposed leadership structure.

        Even where (unlike here) there is not the long and effective history of an existing multi-

firm structure, courts have considered and rejected defendants’ desire for a sole lead where

Plaintiffs’ counsel have demonstrated success working collaboratively. See, e.g., Bloom v.

Anderson, No. 2:20-CV-04534, 2020 WL 6710429, at *9 (S.D. Ohio Nov. 16, 2020),

supplemented, No. 2:20-CV-04534, 2020 WL 6737655 (S.D. Ohio Nov. 17, 2020) (“In light of

their demonstrated success in working together as co-lead counsel, this Court is confident that the

two firms will be able to speak with one voice and coordinate appropriately to streamline

procedure.”). This case is no different. Class Plaintiffs’ leadership proposal simply unifies as one

the counsel from the Tremblay and Authors Guild matters, who have already been jointly litigating

this case in an efficient and just manner to avoid duplication and contradiction. Further, Class

Plaintiffs’ proposal is a common structure even based on a quick perusal of cases in which

proposed lead counsel here are presently or recently serving as MDL co-lead counsel. See, e.g., In

re: Glucagon-Like Peptide-1 Receptor Agonists (GLP-1 RAS) Prods. Liab. Litig., No. 24-md-

03094 (E.D. Pa.); In re: Juul Labs, Inc. Mktg., Sales Pracs. & Prods. Liab. Litig., No. 19-md-2913

(N.D. Cal.); In re Outpatient Medical Center Employee Antitrust Litig., 1:21-cv-00305, Dkt. No.

50 (N.D. Ill. July 9, 2021). And, Defendants’ opposition to Class Plaintiffs’ leadership structure

should not be credited. Not only are they in no position to know what is most efficient for Class


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   For example, OpenAI has still not shared with the Tremblay Plaintiffs the transcript of the
Rule 30(b)(6) deposition conducted by the Authors Guild and News Plaintiffs with respect to
training data and certain custodial topics.



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Plaintiffs, but they stand to benefit most from disrupting a proposal that Class Plaintiffs have

decided will best advance the interests of the class.

                               (iii)   Basis for the Class Leadership Counsel Structure and
                                       Appointment
       The Class Plaintiffs have reached unanimous agreement that this structure and selection of

firms provides a diversity of backgrounds, skills, expertise and roles, which will provide the Court

with an experienced and effective team to efficiently advance the class actions in this MDL. The

appointment of these four firms as leadership counsel for the Class Cases, to be advised by a

steering committee, is also in accord with the primary consideration in choosing class leadership

in complex cases: “achieving efficiency and economy without jeopardizing fairness to the parties.”

Manual for Complex Litig. § 10.221 (4th ed. 2004). The proposed firms were among the first to

bring claims challenging the conduct of Defendants in this action, and each have put in significant

resources in identifying and investigating potential claims in this action. Fed. R. Civ. P.

23(g)(1)(A)(i). They also have extensive knowledge of the applicable law in this case, both regard

with federal class actions under Rule 23, and with regard to the applicable law. See Fed. R. Civ.

P. 23(g)(1)(A)(iii). And each of them work collaboratively and inclusively as a matter of principle

in order to serve the best interest of their clients and the putative classes. See Fed. R. Civ. P.
23(g)(1)(A)(iv). The firms’ qualifications are self-evident from their prior casework in the
Tremblay and Authors Guild Actions on behalf of the Class Plaintiffs, and their efforts have

substantially advanced their respective cases before centralization by the JPML. Each of the four

firms in the proposed leadership counsel and the firms and counsel in the steering committee have

the resources and resolve to ensure the interests of the Class Plaintiffs are zealously prosecuted to

a fully and fair resolution. The appointment of LCHB, SG, JSLF, and BSF as leadership counsel,

CCMS as Chair of the steering committee, and CDAS and Mr. Butterick as members of the

committee, represents the leadership structure “best able to represent the interest of the class.” Fed.

R. Civ. P. 23(g)(2).

       The proposed leadership counsel base their application on the below:



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       First, the Tremblay and Authors Guild Plaintiffs’ efforts over the last 20 months have

materially and efficiently moved the case forward for the benefit of the putative classes, both in

the parallel underlying cases, and in coordinated fashion. On February 6, 2024, SG, LCHB, and

Cowan DeBaets were appointed as co-lead interim class counsel in the Authors Guild case after a

review of the Counsel’s work and related experience. Dkt. 70. With LCHB and SG at the helm as

Interim Class Counsel for the Authors Guild Action, the case has moved forward quickly and

efficiently, and these firms should now be appointed co-lead for the Class Cases. JSLF and BSF

likewise have effectively prosecuted the Tremblay Action (alongside CCMS and Mr. Butterick),

making major headway before consolidation in the MDL.

       Across the Tremblay and Authors Guild actions, SG, LCHB, JSLF and BSF have served

hundreds of discovery requests; conducted dozens of meet and confers; filed over twenty

motions to compel, and participated in a number of discovery and settlement conferences before

Magistrate Judges Wang and Illman. These efforts have secured the production of hundreds of

thousands of documents from Defendants. Those documents are highly relevant to both

Defendants’ willfulness and liability, including by showing that Defendants have paid millions in

AI training licensing fees, confirming the existence of the type of licensing market cognizable

under the Fourth Factor of the fair use analysis. See Hachette Book Grp., Inc. v. Internet Archive,

664 F. Supp. 3d 370, 388-89 (S.D.N.Y. 2023), aff’d, 115 F.4th 163 (2d Cir. 2024) (existence of

“thriving . . . licensing market” suggests applicable factor-four market); Fox News Network, LLC

v. Tveyes, Inc., 883 F.3d 169, 180 (2d Cir. 2018) (willingness to pay for access to copyrighted

content demonstrates “plausibly exploitable market” under fair use analysis). Those law firms

have each retained and worked closely with technical experts to go on site over the course of a

number of days and inspect OpenAI’s voluminous training datasets. They have engaged in

extensive third-party discovery, serving subpoenas on a swath of former employees, not to

mention book publishers and financial institutions, as well enforcing deposition subpoenas to the

two former OpenAI employees who were the principal architects of the books datasets at issue in

the case. They have also taken depositions of current OpenAI employees, and taken and


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defended depositions under Rule 30(b)(6).

        Second, LCHB, SG, JSLF, and BSF have the experience, resources, and track record of

success in complex class actions and complex intellectual property matters to lead this case. 12

        Lieff Cabraser (LCHB). LCHB is a nationwide plaintiffs’ class action firm with 125+

attorneys and U.S. offices in New York, San Francisco, and Nashville. Founded in 1972, the firm

has recovered over $129 billion in verdicts and settlements. 13 LCHB has a long history of

vigorously prosecuting claims against some of the largest corporations, including technology

corporations, in the world. In 2025, U.S. News & Best Lawyers named LCHB one of its “Best

Law Firms,” and, in 2024, Law360 awarded LCHB in both the Cybersecurity & Privacy Group

and Class Action Practice Group of the Year categories. LCHB’s recent experience includes

achieving a number of $100+ million recoveries in major, cutting-edge matters where the firm

served as lead or co-lead counsel—see, e.g., Chen-Oster v. Goldman Sachs, Case No. 10-6950

(S.D.N.Y.) (LCHB, as co-lead counsel, obtained a $215 million class settlement, along with

programmatic relief, for plaintiffs in a gender discrimination class action lawsuit against Goldman

Sachs); In re Juul Labs Mktg. Sales Practices & Prods. Liab. Litig. 20-cv-8177 (N.D. Cal.) (LCHB

served as co-lead counsel for plaintiffs in nationwide multidistrict litigation regarding the Juul

electronic-cigarette, securing over $2.5 billion in settlements for plaintiffs and class members)—

and in complex cases with multiple stakeholders—see, e.g., City and County Of San Francisco et

al. v. Purdue Pharma L.P. et al., No. 3:18-Cv-07591 (N.D. Cal.) (LCHB prevailed over Walgreens

in a landmark bench trial, which helped precipitate a $14 billion national settlement of the opioids

litigation by chain pharmacies; LCHB also serves as lead counsel in other Opioids related




12
   Each of these four firms have deep experience litigating copyright class actions against
Artificial Intelligence (“AI”) companies. In addition to the instant matter, the firms are currently
litigating similar copyright class actions against other technology companies including Anthropic
PBC, Databricks, Inc., Meta Platforms, Inc., Stability AI, GitHub, and NVIDIA Corporation.
13
   See https://www.lieffcabraser.com/pdf/Lieff_Cabraser_Firm_Resume.pdf (LCHB resume).



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litigation); Norfolk Southern Train Derailment (2024 settlement). 14 LCHB’s team is led by Rachel

Geman, a nationally recognized partner in the New York office with decades of experience in

complex class action and fraud matters, ranging from cutting-edge technology cases (e.g., co-lead

class counsel in Plaid Financial Privacy, $58 million settlement and programmatic relief), to civil

and human rights cases (e.g., co-lead class counsel in Doe v. MasterCorp, EDVA (2024), forced

labor TVPRA class settlement; Chen-Oster v. Goldman Sachs (above)), to consumer protection

matters, to her role in recovering hundreds of millions in False Claims Act and whistleblower

matters. In addition to the LCHB partners and associates discussed in last year’s leadership

application who are working with Ms. Geman on this litigation, such as Reilly Stoler, other

members of the LCHB team include Kenneth S. Byrd, an experienced trial attorney.
        Susman Godfrey (SG). SG has extensive experience in handling complex class actions and

copyright disputes, including some of the largest and most complex cases in the nation, and has

demonstrated that it has the ability and resources to handle such cases effectively and efficiently.

Since the firm’s founding in 1980, SG has served as lead counsel in hundreds of class actions and

complex copyright disputes in courts throughout the country, including several in this District. 15

SG’s litigation savvy and class action proficiency are reflected in its recognition as the county’s

leading trial firm. The firm was named “Litigation Boutique of the Year” in 2023 by The American

Lawyer, “Commercial Litigation Firm of the Year” in 2023 by Benchmark Litigation, and among



14
   https://www.lieffcabraser.com/2024/09/norfolk-southern-train-derailment-settlement-
approved/.
15
   See, e.g., Melissa Ferrick et al. v. Spotify USA Inc., et al., No. 1:16-cv-08412-AJN (S.D.N.Y.)
(appointed co-lead counsel for settlement purposes and secured a settlement valued at $112
million on behalf of a class of composition owners for claims of nonpayment of royalties for
music streaming); Flo & Eddie, Inc. v. Sirius XM Radio, Inc., No. 2:13-cv-05693-PSG-GJS
(C.D. Cal.) (appointed co-lead counsel and secured $25.5 million and additional royalties); In re
Libor-based Financial Instruments Antitrust Litigation, No. 11-md-02262 (S.D.N.Y.) (appointed
co-lead class counsel and secured $780 million in settlements for plaintiffs who allege several
banks were involved in setting LIBOR and manipulating it to their advantage); In re Automotive
Parts Antitrust Litigation, No. 12-md-02311 (E.D. Mich.) (appointed co-lead class counsel and
secured over $1.2 billion in settlements to date for a class of end payor plaintiffs against dozens
of automobile suppliers who engaged in price-fixing and bid-rigging).



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five finalists for “Law Firm of the Year” and “Litigation Boutique of the Year” in 2024 by Texas

Lawyer (with firms multiple its size). SG’s recent successes include securing a $1.6 billion

judgment for BML Properties, Ltd. against China Construction America, Inc. arising out of the

latter’s fraud in developing a Bahamian luxury resort; securing a $418 million joint settlement on

behalf of a nationwide class of home sellers; and securing a $266 million jury verdict for the City

of Baltimore against McKesson and AmerisourceBergen for their role in manufacturing and

distributing opioids.

       SG’s team is led by Justin A. Nelson and Rohit D. Nath, two nationally recognized

attorneys with decades of combined experience in class actions and intellectual property cases

involving cutting-edge technology. Mr. Nelson, a former law clerk to the Honorable Sandra Day

O’Connor of the United States Supreme Court, recently represented Dominion Voting Systems

against Fox News in helping secure the landmark $787.5 million settlement arising from the

latter’s defamatory news coverage claiming that Dominion’s voting machines were responsible

for massive voter fraud during the 2020 U.S. presidential election. Mr. Nelson was recently named

an advisor to The American Law Institute’s Principles of the Law, Civil Liability for Artificial

Intelligence Project. Mr. Nath, a former law clerk to the Honorable Alex Kozinski of the United

States Court of Appeals for the Ninth Circuit, has also secured hundreds of millions of dollars in

settlements. Mr. Nath’s recent successes in this District include Bernstein v. Cengage Learning,

Inc., No. 18CIV7877VECSLC, (S.D.N.Y.), where he helped secure a $21 million settlement for

textbook authors, and In re: AXA COI Litigation, No. 16-cv-740 (S.D.N.Y.), which resulted in a

$307.5 million settlement on behalf of a class of insurance policyholders. SG also represents

putative class action plaintiffs in actions against other LLM companies including Anthropic and

Databricks.

       The Joseph Saveri Law Firm (JSLF). The Joseph Saveri Law Firm, along with Matthew

Butterick, filed the first of these cases against OpenAI on June 28, 2023, two months prior to any

other case, which (in large measure) became the model for all subsequent cases filed. JSLF

attorneys, and in particular its managing partner and founder Mr. Joseph Saveri, in conjunction


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with Mr. Butterick are pioneers in this area of law, bringing the first lawsuit in the United States

(and in the world) challenging the unauthorized use of information in connection with generative

AI models, including the large language models at issue in this case. While other firms may boast

of a higher head count, few if any can say they have as many attorneys devoted to the practice of

generative AI law. JSLF’s experience is exemplified in the cases it has prosecuted as lead counsel.

For example, as sole lead counsel for the direct purchaser plaintiffs in In re Capacitors Antitrust

Litigation, No. 3:17-md-02801-JD (N.D. Cal.), JSLF successfully managed over 40 million pages

of discovery (nearly all in Japanese) from 22 corporate defendant families, and coordinated with

separate counsel for the indirect purchaser-class, opt-outs, and the DOJ.
        JSLF works collaboratively and inclusively as a matter of principle in order to serve the

best interest of its clients. Through decades of experience, Mr. Saveri and JSLF attorneys have

developed collaborative skills and efficient approaches to litigation decision making and problem

solving. Towards that goal, JSLF strives to provide meaningful opportunities for courtroom

experience to early career lawyers from diverse backgrounds—not only its own but also those of

co-counsel. 16 JSLF offers intra-firm mentorship and courtroom opportunities to junior attorneys at

other firms that it partners with. JSLF is committed to those as core values, shared amongst its co-

counsel, and would ensure they are advanced here.

        Boies Schiller Flexner LLP (BSF). BSF is an elite international litigation firm with over

200 trial and appellate lawyers which has served successfully as lead or co-lead counsel in

numerous complex class actions including currently In re Google Digital Advertising Antitrust

Litigation MDL (S.D.N.Y.) (the Honorable P. Kevin Castel), In re FTX Cryptocurrency

Exchange Collapse Litigation MDL (S.D. Fla.), Rodriquez v. Google (N.D. Cal.), and (as interim

lead counsel) Kadrey v. Meta Platforms (N.D. Cal.)—a similar copyright infringement putative



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  JSLF’s commitment to this is apparent in numerous recent cases where young and diverse
lawyers had meaningful courtroom roles, including the jury trial in In re Capacitors Antitrust
Litigation, In re Juul Labs, Inc. Antitrust Litigation, and numerous other cases pending in federal
court.



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class action on behalf of authors. BSF also recently served as co-lead counsel in both the In re

Blue Cross Blue Shield Antitrust Litigation MDL (securing a record $2.67 billion settlement) and

the In re Takata Airbag Products Liability Litigation MDL (securing $1.5 billion).

       BSF also has a long history of productive cooperation in class/MDL litigation with a

leadership structure similar to that proposed here:

   •   In re General Motors LLC Ignition Switch Litigation, MDL No. 2543

       (S.D.N.Y.): BSF was an integral part of a multi-faceted plaintiffs’ leadership, serving on

       the Executive Committee. This structure included three Co-Lead Counsel firms, Plaintiff

       Liaison Counsel, and Federal/State Liaison Counsel, all collaborating to manage this

       highly complex MDL, which resulted in significant resolutions for plaintiffs.
   •   In re Takata Airbag Products Liability Litigation, MDL No. 2599 (S.D. Fla.): BSF

       served as one of four lead lawyers appointed by the Court. In this structure, BSF co-led

       the economic loss class actions alongside counsel from another firm, while two additional

       lawyers from different firms oversaw the personal injury claims, demonstrating a

       successful, collaborative approach.

   •   In re Municipal Derivatives Antitrust Litigation, MDL No. 1950 (S.D.N.Y.): BSF

       appointed by the Court as one of three interim co-lead counsel firms. This three-firm

       leadership effectively shared top-tier plaintiff responsibilities, navigating complex

       antitrust issues and achieving substantial settlements exceeding $220 million.

   •   In re Polyurethane Foam Antitrust Litigation, MDL No. 2196 (N.D. Ohio): BSF was

       appointed as Interim Co-Lead Counsel for the Direct Purchaser Class, sharing this role

       with counsel from another firm. This leadership was further supported by a multi-firm

       Plaintiffs’ Executive Committee, on which other firms served, showcasing a structure

       where BSF held a principal leadership role while cooperatively managing the litigation

       with a broader group of firms, leading to settlements of over $400 million.

       BSF’s excellence and accomplishments have been recognized by virtually every legal

publication (including being named Class Action Law Firm of the Year by Law 360 last year), as


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well as by the courts before whom BSF served as lead counsel. In one of the most notable recent

cases, BSF served as co-lead counsel in the litigation against JPMorgan Chase & Co. on behalf

of victims of Jeffrey Epstein. Of the $290 million settlement, U.S. District Judge Jed Rakoff

remarked, “in my 27 years on the bench, I have not seen such a good settlement arrive in such a

short order, of a case of similar complexity.”

       The BSF team in the Class Cases will led by David Boies, one of the most celebrated trial

lawyers in the country, along with Jesse Panuccio, the former third-ranking official at the U.S.

Department of Justice, and Maxwell V. Pritt, the leader of BSF’s California offices and a veteran

of major technology-related litigations, including Waymo v. Uber.

                              (iv)    Basis for the Appointment of the Steering Committee
       The Class Plaintiffs also propose that the Court appoint a Steering Committee to be chaired

by CCMS and also comprised of CDAS and Matthew Butterick, Esq., each of whom bring

substantial experience and expertise to the Class Cases.

       Cafferty Clobes Merriwether & Sprengel LLP (CCMS). Cafferty Clobes Meriwether &

Sprengel, LLP is a Chicago based, national class action firm with decades of experience

successfully leading large national MDLs in federal courts around the country. CCMS filed the

second of these cases against OpenAI and currently represents award-winning authors including

Andrew Sean Greer, David Henry Hwang, Junot Diaz, Laura Lippman, and Ta-Nehisi Coates in

this case and three other similar copyright infringement class actions challenging the use of

pirated work to train and develop generative-AI large language models (“LLMs”). See Kadrey et

al. v. Meta Platforms, Inc., No. 3:23-cv-03417-VC (N.D. Cal); In re Mosaic LLM Litigation, No.

3:24-cv-01451-CRB (N.D. Cal.); Nazemian et al. v. Nvidia Corp., No. 4:24-cv-01454-JST).

CCMS, and named partner Bryan Clobes, have helped lead, manage and litigate all aspects of

these four AI LLM cases and are working very effectively in these cases (and other cases) with

the lawyers and firms seeking to be appointed Co-Lead Counsel in this case.




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       Mr. Clobes and Cafferty Clobes have decades of experience successfully leading and

litigating large, complex MDL class cases. See https://caffertyclobes.com; In re Insurance

Brokerage Antitrust Litig., MDL No. 1663 (D.N.J.) (served as one of two Co-Lead Counsel in

antitrust class case against insurers and brokers resulting in settlements of over $270 million); In

re Cattle and Beef Antitrust Litigation, MDL 3031 (D. Minn.) (currently serving as one
of two Co-Lead Counsel on behalf of a national class of cattle ranchers in a price
suppression conspiracy case and have already secured partial settlements totaling over
$100 million); In re: Consumer Vehicle Driving Data Tracking Collection, No. 1:24-md-
03115-TWT (N.D. Ga.) (currently serving as one of several Co-Lead Counsel in case on behalf

of tens of millions of vehicle owners and lessees against GM and credit reporting agencies for

illegally collecting and selling driver and driving data).

       Cowan, DeBaets, Abrahams & Sheppard LLP (“CDAS”). For more than 30 years, CDAS
has handled sophisticated and cutting-edge copyright matters on behalf it its diverse client base

in the media, entertainment, and publishing industries. CDAS provides counseling and advice

regarding, inter alia, registration, protection, enforcement, licensing, best practices and risk

avoidance, infringement analysis, and fair use reviews. The firm’s litigators have been involved

in many important, precedent-setting copyright matters across the country in the district courts

and courts of appeal and have successfully prosecuted and defended complex and nuanced

disputes via motion practice, trial, and negotiated settlements. See, e.g., teamLab, Inc. v. Museum

of Dream Space, LLC et al., No. 19-cv-6906-PSG (C.D. Cal.) (represented an art collective in a

copyright infringement case dealing with copying of interactive digital art installations; prevailed

on summary judgment regarding protectability of art installations and established extrinsic

substantial similarity); Kanongataa v. Coed Media Grp., No. 16-cv-7472 (S.D.N.Y.) (defended a

copyright infringement case against media outlet for reporting on the plaintiff’s accidental live

streaming of his wife’s labor; prevailed on motion to dismiss on fair use and de minimis use

grounds); Al Hirschfeld Foundation v. Margo Feiden Gallery, No. 16-cv-4135-PAE (S.D.N.Y.)

(represented the late artist’s foundation against his former gallerist for breach of contract and


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copyright infringement; prevailed after a bench trial on damages and obtained nearly all the relief

sought); Frida Kahlo Corp. v. Artists Rights Society Inc., No. 1:2021cv-00635 (D. Col.)

(prevailed on motion to dismiss declaratory judgment action relating to copyright status of Frida

Kahlo paintings; established lack of subject matter jurisdiction where preemptive suit was not

based on a justiciable controversy); 16 Casa Duse v. Merkin, 13-3865 (2d Cir.) (prevailed on

summary judgment below on behalf of film production company; appeal court affirmed that a

director’s contribution to a motion picture is not, itself, a work of authorship subject to copyright

protection); Walker v. Carter, 17-2483 (2d Cir.) (represented famous rapper in copyright dispute

over logo design for legendary rap music label; prevailed on summary judgment and appeal,

establishing precedent regarding statute of limitations on copyright ownership claims); see also,

e.g., Oracle v. Google, 18-956 (U.S. Supreme Court) (amicus counsel); Am. Soc’y for Testing &

Materials v. Public.Resource.Org, Inc., No. 22-7063 ( D.C. Cir.) (amicus counsel); Authors

Guild v. Google 13-4829 (2d Cir.) (amicus counsel) Fox News Network, LLC v. TVEyes, Inc.,

883 F.3d 169, 180 (2d Cir.) (amicus counsel). The firm’s lawyers are also thought leaders in the

field of copyright law, holding past and present leadership positions with the ABA, the

Copyright Society of the USA, the New York City Bar, and the MLRC, and are frequent writers

and speakers on the latest topics in copyright law, particularly its intersection with new

technology (most recently, generative AI).

       Matthew Butterick, Esq. Matthew Butterick is the primary architect of the first wave of

AI copyright cases, including Tremblay v. OpenAI, the first-filed case in this MDL. Mr.

Butterick, along with JSLF, were the first to challenge the legality of generative AI systems by

filing a set of seven groundbreaking cases challenging the practices of generative AI companies,

and pioneered and crafted discovery techniques which have since been more widely adopted.

       Mr. Butterick has been a professional author, typographic designer, and software

programmer for over 30 year, with works including a paperback about typographic design

(Typography for Lawyers), a digital-font library (mbtype.com), and an open-source web-

publishing system. But like so many other authors, artists, and programmers, Mr. Butterick’s


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works were copied for the training datasets of commercial generative-AI systems without consent,

credit, or compensation. Mr. Butterick’s experience both as an advocate and as a creative

professional places him in a unique position to be a strong advocate for the Class.

                 2.      Necessity and Desirability of a Steering Committee

                         a.     News Plaintiffs’ Position
          No steering committee is necessary for the News Cases, particularly because there are a

small number of law firms involved on the News side. Before the addition of Ziff Davis, the six

News Plaintiffs are represented collectively by three law firms: Susman Godfrey (The Times),

Rothwell Figg (The Times and The Daily News Plaintiffs); and Loevy and Loevy (CIR, The

Intercept, Raw Story, and AlterNet). These firms have a strong working relationship; in fact, they

have already been working together since October 2024 given formal consolidation of The

Times, Daily News, and CIR cases. Counsel for the existing News Cases also expects to work

well with counsel for Ziff Davis, 17 and that coordination is already well underway.

                         b.     Class Plaintiffs’ Position
          As noted above, Class Plaintiffs respectfully request the appointment of a steering

committee consisting of Cafferty Clobes Merriwether & Sprengel LLP (CCMS), Cowan,

DeBaets, Abrahams & Sheppard LLP (CDAS) and Matthew Butterick, Esq., with CCMS serving

as Chair of the steering committee. These firms’ and Mr. Butterick’s skills, expertise, and

background will assist the leadership counsel in prosecuting the Class Case in this MDL justly

and efficiently. CCMS, CDAS and Mr. Butterick each have significant experience litigating

cases against generative AI companies, which complements the MDL experience that the four

leadership counsel possess. Indeed, each of these firms and Mr. Butterick have already

demonstrated their skills and experience in advancing both the Tremblay and Authors Guild
Actions. While each member of the steering committee is highly qualified and could have moved



17
     Ziff Davis is represented by Klaris Law with support from Ruttenberg IP Law.



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for lead counsel, each has stepped back to support the leadership structure for the Class Cases, as

requested herein by the Class Plaintiffs for the Court’s approval and appointment.

                  3.     Structure of Leadership Counsel and Process for Appointment

                         a.      News Plaintiffs’ Position
        Because News Plaintiffs have agreed on appointments for Liaison Counsel and the

Leadership Committee, there is no need for any process to select liaison or leadership counsel.

Rather, the News Plaintiffs request the Court issue an order adopting the agreed upon structure.

                         b.      Class Plaintiffs’ Position
        Because Class Plaintiffs have agreed on appointments for the Leadership Counsel and the

Steering Committee, there is no need for any process to select leadership counsel or a steering

committee. Rather, Class Plaintiffs request the Court issue an order adopting the agreed upon

structure.

                  4.     Responsibilities and Authority of Leadership Counsel

                         a.      News Plaintiffs’ Position
        Consistent with the Manual for Complex Litigation, Fourth §§ 10.221 and 40.22, News

Plaintiffs’ Leadership Committee shall have the authority to perform or delegate the following

tasks on behalf of all News Plaintiffs:

             i.   Call meetings of counsel for News Plaintiffs for any appropriate purpose, including
                  coordinating responses to questions of other parties or the court. Initiate proposals,
                  suggestions, schedules, or joint briefs, and any other appropriate matter(s)
                  pertaining to pretrial proceedings;
         ii.      Develop and propose to the court schedules for the commencement, execution, and
                  completion of all discovery on behalf of all News Plaintiffs;
         iii.     Coordinate with leadership counsel for the Class Action Plaintiffs and, where
                  appropriate;
         iv.      Coordinate and conduct discovery on behalf of News Plaintiffs consistent with the
                  requirements of Fed. R. Civ. P. 26(b)(1), 26(2), and 26(g). However, no attorney
                  for a News Plaintiff will be excluded from attending the examination of witnesses
                  and other proceeding, and such attorney may suggest questions to be posed to
                  deponents provided that such questions are not repetitious;
             v.   Cause to be issued in the name of all News Plaintiffs any necessary discovery
                  requests, motions, and subpoenas pertaining to any witnesses and documents



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                needed to properly prepare for the pretrial discovery of relevant issues found in the
                pleadings of this litigation;
         vi.    Delegate specific tasks to other News Plaintiffs’ counsel, including but not limited
                to examining witnesses at depositions and arguing motions at court hearings on
                behalf of all News Plaintiffs;
        vii.    Act as spokesperson for all News Plaintiffs at pretrial proceedings and in response
                to any inquiries by the court, subject to the right of any News Plaintiffs’ counsel to
                present non-repetitive individual or different positions;
       viii.    Enter into stipulations with Class Action Plaintiffs and opposing counsel as
                necessary for the conduct of the litigation;
         ix.    Prepare and distribute periodic status reports to the parties;
          x.    Maintain adequate files of all pretrial matters and have them available, under
                reasonable terms and conditions, for examination by News Plaintiffs or their
                attorneys’; and
         xi.    Perform such other duties as may be incidental to proper coordination of News
                Plaintiffs’ pretrial activities or authorized by further order of the Court.

        Liaison Counsel for News Plaintiffs shall have the following administrative

responsibilities:

          i.    Act as the primary contact between the Court and News Plaintiffs’ counsel;
         ii.    Maintain an up-to-date, comprehensive service list of News Plaintiffs and promptly
                advise the Court, Class Action Plaintiffs, and defense counsel of changes to News
                Plaintiffs’ Service List; and
         iii.   Receive and distribute to News Plaintiffs’ counsel, as appropriate, orders, notices,
                and correspondence from the Court, to the extent such documents are not
                electronically filed.

        Notwithstanding the proposed appointment of Liaison Counsel, News Plaintiffs’ position

is that each counsel may participate in all proceedings before the court as fully as such counsel

deems necessary. Liaison Counsel shall not have the right to bind any party as to any matter

without the consent of counsel for that party, except Liaison Counsel’s own clients.

                       b.      Class Plaintiffs’ Position
        Consistent with the Manual for Complex Litigation, Fourth §§ 10.221 and 40.22, in

addition to the responsibilities listed above, Class Plaintiffs’ Leadership Counsel shall have the

authority to perform or delegate the following tasks on behalf of all Class Plaintiffs, as listed

above for News Plaintiffs:




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          i.   Convene meetings of counsel among Class Plaintiffs for any appropriate purpose;
         ii.   Coordinate with leadership for News Plaintiffs or other members of the MDL where
               appropriate;
        iii.   Delegate and assign responsibility to Class Plaintiff counsel, including drafting or
               responding to motions;
         iv.   Organize and direct Class Plaintiffs in effectuating discovery an efficient manner;
          v.   Conduct settlement negotiations on behalf of the Class(es);
         vi.   Designating which attorneys appear at hearings with the Court and at depositions
               on behalf of Class Plaintiffs;
        vii.   Retain experts;
       viii.   Approve all expenses by counsel for Class Plaintiffs;
         ix.   Hire or negotiate for hiring all litigation vendors in coordination with other MDL
               counsel where appropriate;
          x.   See that schedules are met;
         xi.   At their discretion and at the appropriate juncture, appoint counsel responsible for
               ensuring a fair and equitable distribution of settlement funds among the class
               members.
        xii.   Prepare and distribute periodic status reports to the parties.
       xiii.   Maintain adequate files of all pretrial matters and make them available for
               examination by Class Plaintiffs or their attorney.
       xiv.    Act as spokesperson for all Class Plaintiffs at pretrial proceedings and in response
               to any inquiries by the court, subject to the right of any Class Plaintiffs’ counsel to
               present non-repetitive individual or different positions.
        xv.    Enter into stipulations with News Plaintiffs and opposing counsel as necessary for
               the conduct of the litigation.
       xvi.    Perform such other duties as may be incidental to proper coordination of Class
               Plaintiffs’ pretrial activities or as authorized by further order of the court.
      xvii.    Work collaboratively with the steering committee, which will assist leadership
               counsel in prosecuting the Class Cases, with each member performing work based
               on their areas of expertise as delegated by leadership counsel.
      xviii.   Ensure that the leadership structure remains consistent regardless of whether new
               lawsuits are filed and centralized within this MDL, with new counsel not
               automatically joining the leadership group.

The steering committee for the Class Cases will assist the leadership counsel in prosecuting the

Class Cases. Each will perform work based upon their areas of expertise as the leadership counsel

delegates, with the advice and consultation of the steering committee.

               5.     Communications with the Court and Non-Leadership Counsel

                      a.      News Plaintiffs’ Position
       News Plaintiffs request monthly status conferences with Magistrate Judge Wang to

address the parties’ discovery disputes. In connection with such status conferences, News



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Plaintiffs’ Leadership Committee will prepare briefing and/or summaries of disputes for the

Court and other News Plaintiffs. News Plaintiffs’ Leadership Committee will also organize bi-

monthly calls with all News Plaintiffs’ counsel to report on and discuss developments in the

case.

                       b.      Class Plaintiffs’ Position
        Class Plaintiffs join the request for monthly status conferences. Given the good relations

and strong lines of communication among all Plaintiffs’ counsel, the Class Plaintiffs do not

believe that additional formal processes for communicating with non-leadership counsel are

required. As the case progresses, to the extent any non-leadership counsel feels that

communications by leadership counsel are inadequate, such non-leadership counsel may, after

first attempting to resolve the issue with leadership counsel, bring the matter to the Court’s

attention.

               6.      Limits on Non-Leadership-Counsel Activity

                       a.      News Plaintiffs’ Position
        None at this time.

        However, going forward, News Plaintiffs’ Liaison Counsel and Leadership Committee

will remain the same regardless of whether any new lawsuits are filed by individual media

companies and become centralized within this MDL. Counsel for any such media companies

who file new lawsuits will not be part of News Plaintiffs’ Leadership Committee.

                       b.      Class Plaintiffs’ Position
        Class Plaintiffs do not propose any specific limits on activity by non-leadership counsel

at this time. However, going forward, the Class leadership appointed by the Court pursuant to

this submission will remain the same regardless of whether any new lawsuits are filed and

become centralized within this MDL. Counsel who file new lawsuits will not be part of the

leadership counsel of this MDL.




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                 7.      Compensation of Non-Leadership Counsel

                         a.     News Plaintiffs’ Position
    News Plaintiffs have agreed that no compensation for News Plaintiffs’ Leadership

Committee is necessary. Relatedly, News Plaintiffs and Class Action Plaintiffs have agreed that

any leadership counsel appointed for the Class Action Plaintiffs will not seek compensation from

any News Plaintiff and vice versa.

                         b.     Class Plaintiffs’ Positions
          News Plaintiffs and Class Action Plaintiffs have agreed that any leadership counsel
appointed for the Class Cases will not seek compensation from any News Plaintiff and vice versa.

          Class Plaintiffs do not believe that any order from the Court before the appointment of

leadership counsel is necessary to address compensation of leadership or non-leadership counsel.

The Authors Guild Plaintiffs may revisit this after the appointment.

          B.     Defendants’ Positions
          Defendants sought and received multidistrict consolidation for these cases because the

different Plaintiff groups, represented by different counsel, either refused to or could not get on

the same page about discovery, the legal claims and theories they are pursuing, and overall case

strategy. Defendants were constantly whipsawed among crushing, duplicative and competing

discovery demands. With hundreds of depositions on the horizon, the parties have failed to reach

agreement on a deposition protocol because Defendants had no interlocutors with authority to

speak for Plaintiffs.

          Now, nearly two months after these cases have been centralized, News Plaintiffs’ and Class

Plaintiffs’ position is: change nothing. They propose having virtually every attorney involved on

their side of the case receive a “Leader” badge. But when everyone is a “Leader” no one is a

leader.    Plaintiffs’ proposed structure offers no efficiencies whatsoever and is a recipe for

continued infighting and dysfunction. Indeed, Class Plaintiffs apparently are unable to agree

whether “additional formal processes” for communicating among themselves is necessary. See

infra Section II.A.5.b (stating that only “Authors Guild Plaintiffs do not believe that additional



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processes for communicating with non-leadership counsel are required”). The history of these

cases to date shows that what Plaintiffs propose simply will not work.

        To be clear, Defendants do not oppose a separate leadership structure for the News Cases

and Class Cases. (Plaintiffs’ long recitation above about the need for separate leadership therefore

was unnecessary.) To conserve resources and minimize duplication, however, the Court should

ensure the leadership structure promotes efficiency. Plaintiffs’ proposals do not do that because

they do not empower any attorney to make decisions about (e.g.,) deposition protocols or other

case-wide issues for any party other than its own client. Indeed, News Plaintiffs’ position is that

“each counsel may participate in all proceedings before the court as fully as such counsel deems

necessary” and that “Liaison Counsel shall not have the right to bind any party as to any matter

without the consent of counsel for that party, except Liaison Counsel’s own clients.” This is

contrary to standard practice in multidistrict litigation, in which the transferee court is empowered

to “institute procedures in which one or more attorneys are selected and authorized to act on behalf

of counsel and their clients with respect to specified aspects of the litigation.” Manual for Complex

Litig. § 10.22. The Class Plaintiffs have not identified any leader at all.

       Appointing a Lead Counsel with the authority to speak on behalf of each subgroup will

promote efficiency in conducting discovery, reaching stipulations, and narrowing the issues for

the Court. As the Manual for Complex Litigation recognizes, “committees of counsel can

sometimes lead to substantially increased costs” and “duplication of efforts.” Manual Complex

Lit. § 10.221; see also Bolch Judicial Institute, Duke Law School, Guidelines and Best Practices

for Large and Mass Tort MDLs at 30 (2d ed. 2018) (“[A] fairly simple structure, consisting of a

lead counsel and a liaison counsel, is all that is required . . . [for] actions in which the plaintiffs

generally assert the same or similar claims.”). If the Court disagrees and allows Class Plaintiffs’

and News Plaintiffs’ baroque leadership structure, Defendants request that the Court at least order

Plaintiffs to take coordinated steps necessary to develop an orderly pretrial process. The absence

of coordination among Plaintiffs–even after the JPML issued its order on April 3–only underscores




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the need for firm guidance from this Court. 18

        There is much work to be done. This Case Management Statement confirms that Plaintiffs

and Defendants agree on a key procedural step: the Court should order a single pre-trial schedule

across all cases in this MDL leading to a single date to file dispositive motions. But Plaintiffs’

proposed schedule is unrealistic even with the cases’ current scope and would become wildly

unrealistic if the Court grants Plaintiffs’ pending and anticipated requests to drastically expand the

scope of the cases. The Court cannot make an informed decision to set a dispositive motion filing

date without knowing the scope of the claims being litigated, the products at issue, or the proposed

class definition. Nothing in Class Plaintiffs’ or News Plaintiffs’ position statements above suggest

they are any closer to reaching agreement among themselves on these issues, which is a

prerequisite to the motion practice the Court ultimately will need to resolve regarding Plaintiffs’

attempts to add claims or broaden the scope of the products at issue.

        For these reasons, Defendants urge the Court to order appointment of a single Interim Class
Counsel pursuant to Rule 23(g). If Class Counsel cannot agree on the identity of that Interim Class

Counsel, the Court should direct the prompt submission of competing proposals from which the

Court can choose. Once the Court appoints Interim Class Counsel, that counsel should seek leave

to file a Proposed Consolidated Class Action Complaint to supersede the existing complaints. For

the reasons explained in OpenAI’s and Microsoft’s oppositions to Plaintiffs’ separate

(uncoordinated and very different) motions for leave to amend (AG Dkts. 407, 409; Tremblay Dkt.

403), and as discussed above, Defendants believe that the Court should not permit Plaintiffs to add

new causes of action, add additional later-released products to the case, or expand their class

definition in the superseding pleading outside the scope of the current separate complaints.

However, to the extent Plaintiffs seek to do so in a Proposed Consolidated Class Complaint, the


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  Since the April 3 Transfer Order, various Plaintiffs groups have issued dozens of subpoenas to
former OpenAI employees—including 24 separate subpoenas for deposition to 13 former
OpenAI and Microsoft employees. None of those appear to have been properly coordinated
among Plaintiffs; indeed, some former OpenAI employees have been the target of as many as 6
different deposition subpoenas.



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Court may resolve those issues following briefing on a noticed motion.

       Once the scope of claims is set, by agreement or by the Court’s decision, News Plaintiffs

and Class Plaintiffs each should serve one coordinated set of discovery requests. As discussed

below, there is no need for this Court to alter default rules regarding the number of interrogatories

or timing of contention interrogatories; any such requests to depart from default local rules

regarding the number or timing of interrogatories should be directed to Magistrate Judge Wang).

       Judge Wang also should enter a deposition protocol, either stipulated by the Parties or

resolved by the Court after appropriate briefing. The protocol should ensure that each individual

witness sits for a single, coordinated deposition attended or represented by any party seeking to

question the witness. See infra Sections IV.C, V.C.

III.   BRIEF STATEMENT OF THE NATURE OF EACH ACTION

       A.      Case Information
       See attached Exhibit A.

       B.      Resolved Motions and Pending Motions & Discovery Disputes
       See attached Exhibit B.

IV.    CONSOLIDATION

       A.      Class Plaintiffs’ Position

               1.      General Principles and Approach
       Class Plaintiffs propose a single consolidated class complaint for their copyright

claims. The consolidated copyright complaint (CCC) will thus assert claims of direct,

contributory, and vicarious infringement against OpenAI and Microsoft on behalf of the class,

thus consolidating the overlapping class copyright claims asserted in the Tremblay and Authors

Guild actions to “streamline the litigation” and “facilitate efficient motion practice.” Manual for

Complex Litig. § 21.15 (4th ed.), Managing Related Proposed Class Actions in Multidistrict

Litigation, Federal Judicial Center (2018). “Consolidated complaints can be critical case

management tools” which enable “the parties to conduct discovery more efficiently and




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provid[e] an effective vehicle for motion practice with respect to common issues of law and

fact.” In re Gen. Motors LLC Ignition Switch Litig., No. 14-MC-2543, 2015 WL 3619584, at *1

(S.D.N.Y. June 10, 2015). For this reason, consolidated class complaints streamlining previously

overlapping claims are standard and recommended practice in MDL proceedings. See Manual for

Complex Litig. § 21.15 (4th ed.) (“A common practice in consolidated multiple cases, including

class actions, is to encourage use of a master pleading”). The Consolidated Copyright Complaint

would, to be clear, become the operative complaint for the copyright claims. The Consolidated

Copyright Complaint, however, should not and is not intended to serve as a waiver of any Class

Plaintiffs’ right to have their cases transferred back to their original forum at the conclusion of

coordinated pre-trial proceedings under Lexecon Inc. v. Milberg Weiss Bershand Hynes &

Lerach, 523 U.S. 26 (1998).

       With respect to any additional claims (see below), Class Plaintiffs currently take no

position as to whether those should be in this same complaint or another. Either approach—two

complaints or one—will ensure non-duplication, and both approaches are consonant with MDL

principles of efficiency and administrative convenience. Two separate class complaints would

provide an efficient path to integrating the two class actions, while also providing Defendants a

discrete set of allegations supporting the non-copyright claims. Separate complaints are not at all

uncommon in MDLs. See, e.g., In re: Generic Pharms. Pricing Antitrust Litig., MDL No. 2724

(E.D. Pa.).

       In any event, nothing about the remaining discovery or case schedule need depend on the

Court’s decision on these issues, and on whether non-copyright claims are in a separate

complaint (with certain overlapping absent class members, but not overlapping claims).

               2.      Claims that may be brought
       Defendants request that the Court limit the claims that may be brought in any

consolidated complaint. The Court should reject that request, and should instead order that such




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complaints may include any plaintiffs, defendants, claims, products, or models identified in any

of the operative or proposed amended complaints in the Authors Guild and Tremblay actions.

       As Defendants do not appear to dispute, the scope of any consolidated complaint cannot

be cabined at this stage. By way of background, Magistrate Judge Wang set a deadline of April

15, 2025 for Authors Guild Plaintiffs to amend their complaint. On April 11, comfortably within

that time, Authors Guild Plaintiffs moved for leave to amend. That motion is not yet fully

submitted, as this Court issued its order staying all deadlines before Plaintiffs’ reply brief came

due. Authors Guild Plaintiffs respectfully submit that the Court should not deny them the

opportunity to bring the claims sought by their amended complaint before Plaintiffs have an

opportunity to reply. Tremblay Plaintiffs also have a pending motion for leave to amend. For the

reasons explained below, more fully set forth in Class Plaintiffs’ motions to amend, and to be

supplemented in their reply, Class Plaintiffs were entitled to bring the claims in their proposed

amended complaints. They are therefore entitled to bring those claims—or indeed any claims

permitted by Rule 15(a)(2)—in any consolidated amended complaint they may file.

       In brief: Rule 15(a)(2) governs amendments within the time set by a scheduling order.

Sacerdote v. New York Univ., 9 F.4th 95, 115 (2d Cir. 2021). Under that rule, “[t]he court should

freely give leave when justice so requires,” “a liberal and permissive standard.” Id. Defendants’

opposition failed to cite Rule 15 even once—because they cannot refute that that standard is met.

The motion was timely, Defendants have not argued bad faith or futility, and they would not be

prejudiced. Defendants’ suggestion that the amendments would “significantly expand the scope

of the case and prolong discovery” is incorrect. Many of the changes are squarely covered by

existing discovery as ordered by Magistrate Judge Wang. See Dkt. 293 (discovery encompasses

models in OpenAI’s interrogatory response). In any event, these amendments are the product of

information revealed in discovery about additional models and conduct by Microsoft and

OpenAI. Even if the amendments would require some additional discovery, that “does not render

an amended complaint unduly prejudicial” under Rule 15(a)(2). Dass v. City Univ. of New York,

No. 18-cv-11325, 2024 WL 4986914, at *5 (S.D.N.Y. Dec. 5, 2024); see also U.S. For & on


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Behalf of Mar. Admin. v. Cont’l Illinois Nat. Bank & Tr. Co. of Chicago, 889 F.2d 1248, 1255

(2d Cir. 1989); State Tchrs. Ret. Bd. v. Fluor Corp., 654 F.2d 843, 856 (2d Cir. 1981). Authors

Guild Plaintiffs’ additional claims were permissible under their proposed amendments, and

should be allowed to be brought in any consolidated complaint.

       The same is true for the Tremblay Plaintiffs. On March 4, 2025, the Tremblay Plaintiffs

moved for leave to amend to file a proposed Second Amended Complaint that included direct

and vicarious copyright claims; state law claims including violations of the California Unfair

Competition Law (Cal. Bus. & Prof. Code §§ 17200 et seq.) and California Comprehensive Data

Access and Fraud Act claims; and federal claims under the Digital Millennium Copyright Act

(17 U.S.C. § 1201), the Computer Fraud and Abuse Act (18 U.S.C. § 1030), and the Sherman

Act (15 U.S.C. § 1), individually and on behalf of registered and unregistered authors of books

and other works. Tremblay Plaintiffs also added Microsoft as a defendant. Tremblay Plaintiffs’

motion for leave to amend was fully briefed and set for hearing on April 10, 2025 when the

JPML issued its transfer order on April 8, 2025. The Tremblay Plaintiffs’ additional claims and

proposed amendments are properly brought under Rule 15, and Tremblay Plaintiffs should be

permitted to pursue them, either in a consolidated or separate complaint. Nothing about the

consolidation of these cases into an MDL changes that. Indeed, an MDL transferee court might

oversee (for example) an economic loss class complaint alongside a medical monitoring class

complaint for largely the same absent class members; it might oversee parties bringing similar

claims under different laws, such as antitrust claims on behalf of direct and indirect purchasers

asserting claims under federal and state law respectively; or it might oversee complaints brought

by different entities such as private plaintiffs and governmental entities, each in their own

complaints bringing various federal and state law claims. E.g., In re: Social Media Adolescent

Addiction/Personal Inj. Prods. Liab. Litig., MDL No. 3047 (N.D. Cal.). Tremblay Plaintiffs also

note that discovery is far from complete. Defendants have not substantially completed document

production and indeed, seek to delay productions further. Also, deposition discovery is just

beginning. Plaintiffs anticipate that further discovery will further support Plaintiffs’ proposed


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amendments. The Court should reject Defendants’ attempt to restrict the claims brought in the

Authors Guild and Tremblay actions.

               3.      Next Steps
       As noted above, rather than pre-emptively cabin the complaint, the Court should order

that any consolidated complaints may include any plaintiffs, defendants, claims, products, or

models identified in any of the operative or proposed amended complaints in the Authors Guild

and Tremblay actions. These consolidated complaints will moot the motions to amend in both the

Authors Guild and Tremblay actions.

       In the alternative, to the extent the Court is unwilling, on the current papers, to issue such

an order, and wishes to evaluate the contents of the proposed complaints more particularly,

Plaintiffs agree with Defendants that the parties should brief the issue by reference to a proposed

amended consolidated complaint. Class Plaintiffs would in that case request that the Court order:

(a) Class Plaintiffs serve proposed consolidated complaints on Defendants on or before June 10,

2025; (b) if Defendants do not consent to Class Plaintiffs’ filing the consolidated complaint(s) by

June 17, 2025, the Class Plaintiffs will file a motion for leave to file the consolidated

complaint(s) by that date; (c) Defendants to file a memorandum in opposition 10 days thereafter;

and (d) Class Plaintiffs to file a reply 5 days after the opposition. This briefing schedule is

generous given the already extensive briefing on this issue.

       Nothing about the remaining discovery or case schedule need depend on the Court’s

decision on these issues.

       B.      News Plaintiffs’ Position
       For the News Cases, the News Plaintiffs agree with Defendants that consolidated

pleadings are unnecessary. There is thus zero reason to further extend discovery or the case

schedule for this reason.

       Moreover, while the News Plaintiffs trust the issue of consolidated class complaints will

be addressed expeditiously, to the extent that is not the case, the News Plaintiffs note that any




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delay on the class side should not further extend discovery or the case schedule as to the News

Plaintiffs.

        C.     Defendants’ Position
        Class Plaintiffs’ proposal is incomprehensible. They do not say whether they plan to file

one Consolidated Amended Class Action Complaint, two, or some larger number. They do not

say what claims they intend to assert. Even worse, Class Plaintiffs request a preemptive order

from this Court allowing them to file “any consolidated complaints” and “any proposed separate

complaint,” without even submitting their proposed complaints to Defendants or the Court for

consideration, let alone briefing. As reflected in the Authors Guild and Tremblay Plaintiffs’

pending motions for leave to amend their respective current complaints, counsel in those two

cases have proposed divergent and incompatible strategies. There appears still to be no

agreement among the various Class Counsel and, disturbingly, they assert a non-existent “right”

to have class action cases subdivided again later after this Court has consolidated them. Class

Plaintiffs now propose submitting up to three separate complaints: a proposed “single

consolidated class complaint” including “copyright claims,” plus “two complaints or one”

addressing “additional” unspecified claims. Class Plaintiffs’ proposal is impracticable.

        Defendants submit that Class Counsel must harmonize their positions and propose a

workable Interim Class Counsel structure under Rule 23(g)(3). If they cannot, the Court should

require them to submit competing proposals which the Court can resolve. Once the Court

appoints Interim Class Counsel, the Court should direct that counsel to file a single “consolidated

complaint that amends existing complaints” and “serve[s] as the vehicle for defining the

proposed class and deciding class certification.” Manual for Complex Litig. § 21.25. Where

multiple federal class cases are consolidated in an MDL, “the transferee judge can order

consolidated pleadings and motions to decide how to resolve competing claims for

certification.” Id. The parties then can ascertain whether a stipulation for filing can be reached or

whether motion practice will be necessary to address the proposed scope of the case in the




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consolidated class pleading, or any other complaint(s) Class Plaintiffs propose to file. Once the

scope of claims is set, discovery can be driven in an efficient and cooperative manner toward

making those claims ripe for summary judgment.

        For the reasons explained in OpenAI’s and Microsoft’s oppositions to Class Plaintiffs’

separate motions for leave to amend (AG Dkts. 407, 409; Tremblay Dkt. 403), Defendants

believe that the Court should not permit Plaintiffs to add new causes of action, add additional

later-released products to the case, or expand their class definition in the superseding pleading

outside the scope of the current separate complaints. However, to the extent Plaintiffs seek to do

so in a Proposed Consolidated Class Complaint over Defendants’ objections, the Court may

resolve those issues following briefing on a noticed motion. Plaintiffs’ suggestion that

“[n]othing about the remaining discovery or case schedule need depend on” the scope of their

Proposed Consolidated Class Complaint is categorically false. Any expansion of the claims,

products at issue, factual allegations, or class definition would require further rounds of Rule 12

motion practice and substantial additional discovery, which would also necessarily extend the

case schedule further.

        Because the pleadings are largely settled in the consolidated New York Times and

Intercept non-class matters, those cases should retain their existing separate pleadings. If, and to

the extent that, the plaintiffs in these cases are part of the putative classes pleaded in the

Consolidated Amended Complaint in the class cases, the Court should find that these plaintiffs

have preemptively opted out of the putative classes. Petryazhna (formerly Millette) should also

retain its existing separate pleading, including because Plaintiff in that case has requested that

her “case be stayed pending class certification and/or summary judgment in the other class

actions subject to the JPML’s order.” AG, Dkt. 400 at 1, n.2. 19



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  The Parties have conferred and agreed that Petryazhna’s claims should be stayed pending class
certification and/or summary judgment in the other class actions subject to the JPML’s order so
long as Petryazhna’s claims are stayed in their entirety.



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V.       CASE SCHEDULING

         A.      Scheduling

                 1.      Plaintiffs’ Proposal
         Plaintiffs propose the schedule below. This schedule takes into consideration all claims

currently asserted or proposed to be asserted in the proposed amended complaints in all dockets.

Plaintiffs agree the most efficient resolution of this case for all involved necessitates firm

deadlines, set in advance, that all sides understand the Court will not move absent agreement

and/or good cause.


                      Event                                      Date or Deadline

     Submission of an agreement on a                               May 16, 2025
 proposed Class leadership structure or of
    applications for Class leadership, as
 applicable, as well liasison and leadership
       structure for the News Cases

 Appointment of Class Plaintiffs and News          May 22, 2025 or at the Court’s convenience
 Plaintiffs’ Liaison & Leadership Counsel                          thereafter

          First day to serve contention                            May 28, 2025
                 interrogatories

      Last day to file stipulated or opposed                        June 5, 2025
     discovery protocols and letter briefs in
             support, if applicable 20

     Last day to Serve or File Consolidated                       June 10, 2025 21
           Class Action Complaint(s)

      Substantial completion of document                           June 24, 2025
     productions for requests issued prior to
                   5/22/2025


20
  Those protocols will include a deposition protocol, a protective order, and a training data
inspection protocol. They may include an ESI protocol and/or a source code protocol.
21
   News Plaintiffs are amenable to class certification occurring prior to or concurrently with
summary judgment briefing. However, News Plaintiffs take no position on the date by which
Class Plaintiffs should serve any amended complaints other than to say that to the extent this
process is delayed such delay should not further extend discovery or delay the case schedule as
to the News Cases.



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                      Event                                     Date or Deadline

       Last day to serve additional written                       July 29, 2025
        discovery or propound additional
      custodians/search terms (absent good
                      cause)

          Motion for Class Certification                       September 10, 2025

         Opposition to Motion for Class                          October 8, 2025
                  Certification

            Class Certification Reply                           October 22, 2025

 Hearing on Motion for Class Certification                      November 7, 2025

             Close of fact discovery                           November 21, 2025
 Expert Reports on issues on which a party                     December 19, 2025
         has the burden of proof

             Rebuttal Expert Reports                            January 30, 2026

       Motions for Summary Judgment 22                            March 6, 2026

            Close of expert discovery                            March 12, 2026

                Daubert motions                                  March 19, 2026

      Oppositions to Motions for Summary                          April 3, 2026
       Judgment and to Daubert motions

 Replies in support of Summary Judgment                           April 24, 2026
                 motions

        Hearing on Motions for Summary                            May 19, 2026
                   Judgment

     Motions in limine for matters to be tried                     June 9, 2026
                before this Court

     Ready trial date for matters to be tried                    August 10, 2026
               before this Court

          Plaintiffs’ proposed schedule provides ample time for the parties to complete discovery

and present the issues to the Court while still ensuring a prompt resolution of the action.



22
  News Plaintiffs respectfully request that any delay in the briefing and decision of class
certification not affect the summary judgment schedule in the News Cases.



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        The parties agree on several aspects of the schedule. First, they agree on the importance

of appointing leadership counsel as soon as possible. To that end, Class Plaintiffs have since the

JPML’s April 3rd order been working to agree on a proposed leadership structure for this MDL.

Class Plaintiffs are submitting concurrently with this filing their proposal for leadership. All

Class Plaintiffs agree that it is in the best interest of the named and unnamed plaintiffs that the

Court appoint leadership counsel as soon as possible, including at the May 22, 2025, conference

if feasible. Meanwhile, the News Plaintiffs have agreed to a Liaison and Leadership Structure

and ask the Court to make those appointments at the May 22, 2025, conference or as soon

thereafter as practicable. Second, the parties agree that, given the extensive discovery to date,

“any further written discovery from Plaintiffs” is likely to be “limited.” While Defendants have

thus far not so committed, Plaintiffs anticipate the same is true of Defendants who, by way of

example, have already served 559 RFPS on the NYT alone and over 200 RFPS on SDNY Class

Plaintiffs alone.

        In other key respects, however, the parties diverge. Plaintiffs’ positions with respect to

those differences are as follows.

        The schedule should bring discovery to a rapid close. Defendants waited until the parties

were well into discovery to seek a JPML. As such, these cases have been pending for over a year

and half. Several completion, substantial completion, and interim completion deadlines have

come and gone. By the time of Plaintiffs’ proposed close of discovery, it will have been over two

years since the cases were commenced. And, by the time of Defendants’ proposed close of

discovery, more than three years will have passed since the cases were commenced. In that time,

as Defendants themselves note, Plaintiffs have issued 400 RFPs and Defendants have produced

two million pages. Many of those RFPs were served over a year ago. Nor have Defendants been

slow in seeking discovery from Plaintiffs. In The New York Times case alone, Defendants have

served 559 RFPs, 46 Interrogatories, and 147 RFAs, including over 200 RFPs since the January

21, 2025, conference—despite the Defendants’ statements at the hearing in December that

written discovery requests come to an end. See Dec. 3, 2024 Hearing Tr. at 151:18–152:1.


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Likewise, in the SDNY Class Plaintiffs case, Defendants have collectively served more than 200

RFPs and almost 50 Interrogatories to each Plaintiff, and OpenAI has served 66 RFAs. The

parties have moreover filed dozens of discovery motions and this Court (and others) has already

overseen hours of discovery conferences. That is not to say that Defendants’ work is done. Far

from it. For example, the Tremblay Plaintiffs have issued new RFPs and other written discovery

which OpenAI has failed to meaningfully respond to. All Plaintiffs are also continuing to inspect

data and source code, with some key data yet to be made available or, where necessary,

produced. But the point is that this consolidation need not trigger a restarting of the clock.

Rather, the Court should set a schedule that allows for any open issues to be resolved, while

recognizing all the work the parties and Courts have already done to date.

       Consistent with that extended discovery period, most Plaintiffs have already substantially

completed productions and expect to complete their productions by early June—long before the

deadlines contemplated by the Plaintiffs’ proposed schedule.

       If, by contrast, Defendants have failed to bring their discovery close to completion, that

failure is entirely their own. Focusing on just the time since the JPML issued its order, discovery

has ground to a halt—despite this Court’s clear instructions to the contrary. See Dkt. 74 (“This

stay of discovery deadlines should not be construed as a stay of conducting discovery.”). For

example, on document productions: neither The Times, nor the Daily News Plaintiffs, nor

Authors Guild Class Plaintiffs have received a non-overlay production from OpenAI since April

1, six weeks ago. Except for print requests and plaintiff-specific training data, the same is true of

N.D. Cal. Class Plaintiffs, CIR, and Intercept. On meets and confers: OpenAI has ignored emails

requesting meet and confers or refused to provide timely dates. Defendants should not be

rewarded for those delays with a further extension of the schedule.

       Still, there is not much discovery left to go. As explained above, any amended complaints

will not significantly expand document discovery, and depositions can be completed in the time

described. Even despite the deficiencies in Defendants’ productions, Plaintiffs are ready, willing

and able to start taking depositions tomorrow, and given the number of lawyers on both sides of


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the “v,” it is more than reasonable to complete those depositions over the subsequent four

months. Indeed, despite Defendants’ complaint that “Plaintiffs have collectively sought over 100

depositions,” it was their request to proceed via a MDL. And, between the various defense firms

representing OpenAI and Microsoft, they have more than 50 attorneys who have appeared in

these cases. Accordingly, Defendants have more than enough resources to complete these

depositions in a timely manner, as do Plaintiffs.

       Finally, it is worth nothing that these cases should be moved forward expeditiously as

they involve matters of significant public concern that require prompt resolution. Defendants’

products are evolving at a breakneck pace, which imperils the marketplace for Plaintiffs’ works.

As Judge Chabria recently noted, “[i]f an AI company is downloading and copying news articles,

copyrighted news articles, without permission en masse, that seems very likely to lead to the

creation of a product that will have the capability of and likely will produce an infinite amount of

content that will diminish demand for the copyrighted works that were used to feed the model.”

Hearing Tr. at 10:2–8, No. 23-cv-03417. Accordingly, it is “not inconceivable that the market for

the copyrighted works that were fed into the market could be eliminated entirely.” Id. at 10:9–11.

Accordingly, Plaintiffs request the Court set firm deadlines that are not moved absent agreement

or good cause.

       Damages should not be bifurcated. Tellingly, the request to bifurcate is made only by

Microsoft and is not joined by OpenAI. Bifurcation should be denied, for three reasons: (1)

discovery into Defendants’ illicit profits is relevant not only to damages but also to the merits of

Plaintiffs’ claims, (2) bifurcation would generate significant and wasteful expense and delay, and

(3) this discovery is minimally burdensome.

       First, discovery into Defendants’ profits is highly relevant to the merits of Plaintiffs’

claims. See Marchese v. Milestone Sys., Inc., 2013 WL 12183618, at *3 (E.D. Mich. Dec. 3,

2013) (denying motion to bifurcate damages discovery where evidence of damages was relevant

to liability). Microsoft does not even dispute this. Nor could they, given how extensively profits

feature in the liability analysis. Profits are relevant to fair use factor one, commercialization:


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“The greater the private economic rewards reaped by the secondary user (to the exclusion of

broader public benefits), the more likely the first factor will favor the copyright holder and the

less likely the use will be considered fair.” Am. Geophysical Union v. Texaco Inc., 60 F.3d 913,

922 (2d Cir. 1994). They are relevant to the balancing the Court must conduct of the “private

economic rewards” that Defendants have “reaped”—and expect to continue reaping—against the

alleged “public benefits” that Defendants repeatedly trumpet. E.g., Times Dkt. 65 at 2. They are

relevant to willfulness: “profitability of the accused product is likely relevant to the

determination of willful infringement, as greater profitability translates into a possible financial

motive for knowingly infringing.” Distributors, LLC v. London Luxury, 2010 WL 4008193, at *5

(N.D. Ill. Oct. 13, 2010). And they are relevant to rebutting OpenAI’s public claims that it

simply cannot pay to license the copyrighted content on which they trained their models. 23
Discovery into Defendants’ current and expected profits will reveal their true ability to pay for

the copyrighted content that make their products work.

        Second, for that reason, Microsoft’s bifurcation proposal would result in significant and

wasteful expense and delay. Because damages are relevant to the merits, the parties will need

discovery into Defendants’ profits immediately, even if bifurcated. In light of that, it would be

wasteful to shoehorn damages and damages experts into a second round of reports and

depositions. The better approach is to complete fact discovery during fact discovery, including to

ensure these highly important cases are resolved as quickly as possible.

        Third, it would be only minimally burdensome to provide this discovery. Microsoft

contends that it would be “exceedingly burdensome,” but provides no basis for that contention.

To the contrary, documents like “product-line financials” are easy documents to locate and

produce. See SenoRx, Inc. v. Hologic, Inc., 920 F. Supp. 2d 565, 569 (D. Del. 2013) (denying



23
   OpenAI Ltr. to Faisal D’Souza, Office of Science and Technology Policy (Mar. 13, 2025), at
4, https://cdn.openai.com/global-affairs/ostp-rfi/ec680b75-d539-4653-b297-
8bcf6e5f7686/openai-response-ostp-nsf-rfi-notice-request-for-information-on-the-development-
of-an-artificial-intelligence-ai-action-plan.pdf?ref=platformer.news.



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bifurcation of damages because the defendant “does not articulate with specificity why this

inquiry is likely to be any more onerous than in the typical patent case”). Tellingly, when

Plaintiffs moved to compel additional information about Defendants’ profits, neither Microsoft

nor OpenAI argued that it would be burdensome to collect and produce financials. Times Dkt.

507; Authors Guild Dkt. 374. Moreover, both Microsoft and OpenAI have served document

requests seeking financial information from Plaintiffs, including documents about lost profits.

E.g., Microsoft RFP 160 to The Times.

        Class certification briefing should occur before summary judgment briefing, or at a

minimum, concurrently therewith.24 Under Rule 23(c)(1)(A), the court must determine whether
to certify a class “[a]t an early practicable time.” In this case, that time is before summary

judgment. By October 2025, when Plaintiffs propose that briefing on class certification conclude,

this case will have been pending for two and a half years. The extended duration of the case

demands that the certification be briefed promptly after the close of discovery, to ensure that

Rule 23’s mandate that class certification be briefed “early” is satisfied.

        Consistent with that directive, class certification before summary judgment is the order

the Tremblay court adopted, over OpenAI’s repeated and unsuccessful efforts. Tremblay Dkt. 51;

56; Nov. 26, 2024 Tr. at 24. Likewise, in a similar book copyright training class action against

competitor LLM company Anthropic, Judge Alsup adopted a similar approach to the one Class

Plaintiffs advocate here, with near-simultaneous briefing—hearing argument on class

certification occurring before summary judgment. Bartz et al. v. Anthropic PBC, N.D. Cal. 3:24-

cv-05417, Dkt, 95, 182. (N.D. Cal. 2025).


24
  News Plaintiffs take no position on the sequence of class certification and summary judgment
briefing in the Class Cases. That said, News Plaintiffs do not agree that summary judgment
briefing in the News Cases should trail class certification briefing or decision. Specifically, the
resolution of the class certification issue in the Class Cases has no bearing on the resolution of
the News Cases. As such, the Court would essentially be staying the News Cases pending its
resolution of the class certification issue—which would needlessly delay the News Cases and in
so doing impose significant costs on News Plaintiffs. Accordingly, News Plaintiffs respectfully
submit that any delay in the briefing and decision of class certification not affect summary
judgment in the News Cases.



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       Those courts were following the “traditional route” in class action cases in the Second

Circuit and elsewhere. Kurtz v. Kimberly-Clark Corporation, 321 F.R.D. 482, 507 (E.D.N.Y.

2017); see also Cuzco v. Orion Builders, Inc., 262 F.R.D. 325, 335 (S.D.N.Y. 2009) (“A court’s

decision on the merits, however, should ordinarily not occur before or simultaneous with a

decision on class certification.”); Philip Morris Inc. v. National Asbestos Workers Medical Fund

214 F.3d 132, 135 (2d Cir. 2000) (“[I]t is difficult to imagine cases in which it is appropriate to

defer class certification until after decision on the merits.”). MDL courts have followed suit. See

e.g., In re Zurn Pex Plumbing Prods. Liab. Litig., No. 08-1958, 2009 WL 1606653, at *1 (D.

Minn. June 5, 2009) (directing the parties to “focus first on the issue of class certification.”).

       It is the traditional route for good reason. That sequencing promotes judicial efficiency

through several mechanisms. It avoids the prospect of one-way intervention, ensuring that class

members benefit from or are bound by the Court’s decision, as the case may be. See, e.g., Am.

Pipe & Const. Co. v. Utah, 414 U.S. 538, 547, 94 S. Ct. 756, 763, 38 L. Ed. 2d 713 (1974) (class

certification should occur before summary judgment to “assure that members of the class would

be identified before trial on the merits and would be bound by all subsequent orders and

judgments.”). It “give[s] clear definition to the action,” so the parties can understand, in briefing

summary judgment and trying the case, who is in fact a party thereto. Fed. R. Civ. P. 23(c)(1),

Notes of Decision. It ensures that the merits are litigated sequentially, with trial on the heels of

summary judgment. And in this case, class certification can be easily resolved. The basis for all

Class Plaintiffs is that Defendants (i) acquired Class Plaintiffs’ works by scraping them from

notorious online “shadow libraries” such as LibGen and Common Crawl without obtaining a

license and without compensation; and (ii) reproduced those books to train Defendants’ large

language models—a common course of conduct that yields common questions of law and fact.

See, e.g., In re Napster, Inc. Copyright Litig., No. 3:00-md-1369, 2005 WL 1287611, at *12

(N.D. Cal. June 1, 2005) (class certified where common course of conduct infringed a large

group of copyrights); Flo & Eddie, Inc. v. Sirius XM Radio, Inc., No. 13-cv-5693, 2015 WL

4776932, at *17 (C.D. Cal. May 27, 2015) (same).


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          Defendants attempt to justify deviating from the traditional sequence by pointing to the

Court’s previous order to that effect. But that order was pursuant to a stipulation between

S.D.N.Y. Class Plaintiffs and Defendants, under which Defendants agreed to an expedited

discovery schedule and that they would not seek to transfer these cases (including under 28

U.S.C. § 1407) except under certain circumstances. Defendants violated that stipulation by

seeking MDL centralization when those circumstances were not met. Despite that, and without

denying that Defendants were in violation of the stipulation, the panel granted consolidation. In

light of that, the stipulation is no longer effective, was never binding on N.D. Cal. Class

Plaintiffs, and provides no basis for this Court to proceed with summary judgment before class

certification.

          Nor have Defendants provided any other reason to deviate from the standard procedure.

They appeal to cases like Authors Guild, Inc. v. Google Inc., 721 F.3d 132 (2d Cir. 2013), but

nothing in that case created any rule about staging summary judgment before class certification.

Of course, in other AI book copyright LLM training class actions, including Tremblay and

Anthropic matters, courts adopted the opposite procedure. If mooting class certification was

enough to hold summary judgment first, “defendants could almost always—if not always—seek

abeyance of class proceedings pending resolution of motions against individual plaintiffs.”

Indergit v. Rite Aid Corp, 52 F.Supp.3d 522, 526 (S.D.N.Y. 2014). That reading of Authors

Guild v. Google is impermissibly broad and the Court should reject it. Class certification here

will be straightforward and should be briefed prior to—and certainly no later than—summary

judgment. To the extent Defendants suggest that the sequencing of class certification is infeasible

because it would occur before expert discovery, that does not pose a problem. To the extent any

issues relating to class certification require expert testimony, those can be supported through

declarations, as is routine in class-action cases. E.g., In re Urethane Antitrust Litig., 237 F.R.D.

440, 449-50 (D. Kansas) (citing In re Linerboard Antitrust Litig., 305 F.3d 145, 153 (3d Cir.

2002)).




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       Reply expert reports are not needed. Rule 26 does not contemplate reply reports, only

opening and response reports, because that is enough to allow the parties to make their

affirmative arguments, and respond to one another. Here, the parties will have that opportunity.

Given the number of expert reports that may be filed in this matter, reply briefs would expand

the record without significantly increasing informativeness. Moreover, by that point, these cases

will have been going on for over two years. Reply reports would only serve to further prolong

the matter. Courts in this district have regularly denied reply expert reports for those very

reasons. See Sandata Techs., Inc. v. Infocrossing, Inc., No. 05-cv-09546, 2007 WL 4157163

(S.D.N.Y. Nov. 16, 2007) (“[T]he expert schedule set by the Court did not contemplate reply

expert reports; indeed, the Court explicitly prohibited them. Therefore, each party was required

to submit a report on the issues on which it bears the burden of proof, and the opposing party was

given an opportunity to submit a rebuttal.”). If the parties have good cause for a reply reports,

they may move the Court for leave.

       A second technology tutorial is not needed. At this Court’s request, on January 14, 2025,

News Plaintiffs and Defendants conducted a technology tutorial for the Court in connection with

the briefing on the motion to dismiss. See Dkt. 433 at 5:5–6 (“The Court: All right. What about a

presentation on how these things work?”). Defendants responded by indicating they were ready

to provide such a tutorial and agreed to the approach. Id. 5:10–11 (“The defendants think a brief

discussion tutorial about the technology would be appropriate.”); see generally 5:24–17:9.

Again, the purpose of the MDL was not to start these cases from scratch. Or allow either side a

do-over of matters that have already been handled. Accordingly, neither News nor Class

Plaintiffs feel that another technology tutorial is necessary, and do not recommend adding

another item to the Court’s and parties’ busy schedule unless it would be helpful to the Court.

       All Plaintiffs are, of course, willing to provide the Court with an additional technology

tutorial if the Court requests. If the Court does request another tutorial, Plaintiffs agree with

Defendants that the date for the tutorial should not interfere with the existing case and discovery

schedule.


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       Issues relating to Ziff Davis. As indicated below, Ziff Davis is working to get up to

speed as quickly as possible. To that end, it respectfully requests that the following two things be

ordered at the May 22, 2025 conference, or as soon thereafter as practicable: (1) that Defendants

immediately provide Ziff Davis with all discovery previously provided to other News Plaintiffs

and (2) that discovery be deemed open in the Ziff Davis case.

               2.      Defendants’ Proposal
       Defendants propose the schedule below. The proposal is based on the claims, products,

and class definitions currently asserted in the operative pleadings in the pending cases.

Defendants maintain that no new claims or products should be added to these cases at this

juncture, nor should the class definitions in the pending cases be expanded. See, e.g., Tremblay,

Dkt. 403; AG, Dkt. 407, 409. To the extent new or additional claims, products, or class

definitions are permitted, these proposed deadlines would need to be revisited as the parties will

be required to conduct significant new document discovery which cannot be accomplished

within the time frames proposed below.

       Both Plaintiffs’ proposed schedule and Defendants’ proposed schedule appropriately set a

single date to complete discovery and a single deadline for dispositive motions. This of course

makes good sense since a primary purpose of the MDL is to coordinate discovery among the

parties to efficiently drive towards efficient resolution of the matters. Given the discovery the

parties will need to take (plaintiffs have proposed taking well more than 100 depositions),

Defendants’ proposal is an aggressive, but reasonable approach.


                      Event                                           Deadline

 Appointment of plaintiffs’ Leadership Counsel       As soon as practicable following the initial
                                                                    conference

              Technology Tutorial                    At Court’s availability after appointment of
                                                                 Leadership Counsel

      Last day to file stipulated or opposed          30 days after appointment of Leadership
              discovery protocols                                     Counsel




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                        Event                                             Deadline

       Last day to serve Proposed Consolidated,            30 days after appointment of Leadership
         Superseding Class Action Complaint                                Counsel
                       (CCAC) 25

     Last day to serve additional written discovery              30 days after CCAC filing

         Substantial completion of document                 60 days after last day to serve written
                     productions                                          discovery

           Last day to respond to contention                60 days before close of fact discovery
                    interrogatories

                Close of fact discovery                    270 days after substantial completion of
                                                                   document productions

     Close of expert discovery (includes opening,           120 days after close of fact discovery
      rebuttal, reply, and surreply expert reports)

 For clarity, the parties agree that Opening
 Reports shall be submitted based on which
 party bears the burden of proof as to a
 particular issue. Rebuttal reports shall be
 submitted in response, followed by Reply
 reports.

 With respect to damages, Microsoft seeks
 bifurcation as described below. If discovery
 concerning damages is bifurcated, then
 Microsoft proposes three rounds of expert
 reports—opening, rebuttal, and reply. If
 discovery concerning damages is not
 bifurcated, then Microsoft proposes that: (1)
 Plaintiffs will submit Opening Reports, (2)
 Defendants will submit Rebuttal Reports,
 which will include apportionment, (3)
 Plaintiffs will submit Reply Reports including
 a rebuttal as to apportionment, and (4)
 Defendants will submit Surreply Reports to
 respond to any rebuttal issues raised by
 Plaintiffs as to apportionment.

     Dispositive motions and Dauberts (all cases)          30 days after close of expert discovery




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  As noted above, Defendants maintain that Plaintiffs should not be permitted to plead
additional claims, add new products, or expand the class definition.


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                      Event                                            Deadline

   Class certification (consolidated class case)        Schedule TBD after dispositive motions in
                                                                  class cases resolved



        Appointment of Leadership Counsel. Defendants’ proposed schedule follows common

practices in complex MDL cases. It provides for the appointment of Leadership Counsel at the

outset, in accordance with the Court’s expressed intention in Case Management Order No. 1

(Dkt. 14 at 2) and the filing of a superseding Consolidated Class Action Complaint (see infra

Section III).

        Technology Tutorial. Defendants’ proposed schedule includes a placeholder for a

technology tutorial during the discovery period. Defendants propose holding a technology

tutorial for Your Honor and Magistrate Judge Wang to help ground discussions throughout the

case about different aspects of the accused technology. Although Defendants responded to

questions about the technology that the Court posed during the hearing on Defendants’ motions

to dismiss, Defendants have in mind here a much more detailed tutorial, with demonstratives,

that Defendants believe will significantly aid the Court in its consideration of these matters.

Defendants will be prepared to discuss this proposal with the Court at the initial conference.

        Written Discovery and Document Productions Followed by Depositions.

Defendants’ proposed schedule allows the parties to complete written discovery and substantially

complete document productions prior to taking depositions. This is both a common practice in

modern MDLs and one the Authors Guild class counsel insisted on in previous scheduling

negotiations. See, e.g., Manual for Complex Litig. § 40.24 (sample scheduling order with

document production and written discovery complete before depositions); In re Future Motion,

Inc. Prods. Liab. Litig., No. 5:23-md-3087 (N.D. Cal.), Dkt. 207 (scheduling order with written

fact discovery close before “commencement of non-written fact discovery,” including

depositions). Defendants’ proposed schedule allows for prompt coordination on discovery

protocols, including an omnibus protective order, ESI order, source code order, and a deposition



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protocol that includes meaningful limits on deposition hours. 26 Defendants maintain that each

witness—whether defense, plaintiff, or third-party—should testify one time in a single,

coordinated deposition attended or represented by all parties seeking to question the witness;

indeed, this was one of the primary reasons the JPML instituted the MDL. See Transfer Order at

3 (noting that the parties “have been unable to agree on a deposition coordination protocol to

eliminate duplicative depositions of defense witnesses”). As Defendants have previously argued,

the alternative would require witnesses to sit for multiple, duplicative depositions about the same

legal and factual issues. See, e.g., NYT Dkt. 382. That outcome is simply unworkable here,

particularly given Plaintiffs have collectively sought over 100 depositions. While Defendants

disagree that 100 depositions of defense witnesses are necessary to promote the “just and

efficient conduct” or resolution of these centralized pre-trial proceedings, see 28 U.S.C. § 1407,

Defendants’ proposed schedule allows for depositions to be completed at a brisk but realistic

pace following substantial completion of document productions.

        Summary Judgment Before Class Certification. Defendants’ proposed schedule

appropriately sequences summary judgment before class certification. The Court previously

ordered that summary judgment would be briefed before class certification in the consolidated

Authors Guild case. 27 See AG Dkt. 56. Nothing merits disturbing that sequencing now.



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   Likewise, to the extent Plaintiffs intend to serve additional written discovery, they should
coordinate to serve consolidated and non-duplicative discovery requests consistent with the
JPML’s centralization decision. Defendants have already responded to more than 400 requests
for production and more than 1400 requests for admission in the class cases alone. Given the
volume of Plaintiffs’ discovery requests to date—and the resulting two million pages of
discovery material produced by Defendants—Defendants anticipate that any further written
discovery from Plaintiffs will be limited.
27
   Class Plaintiffs say that they should not be held to the Authors Guild’s previous stipulation to
sequence summary judgment before class certification because OpenAI violated that stipulation
by seeking centralization with the JPML. That argument is facially absurd, as the stipulation
expressly preserved OpenAI’s right to seek centralization if “additional cases [were] filed raising
similar claims” after the stipulation was executed. Raw Story, Intercept, Daily News, The Center
for Investigative Reporting, and Petryazhna (formerly Millette) were all filed after the stipulation
and before OpenAI sought centralization.


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       Defendants’ proposed sequencing promises significant efficiency benefits and is

supported by controlling Second Circuit precedent. The fair use defense may moot class

certification questions and streamline (and potentially even dispose of) multiple litigations,

consistent with the Second Circuit’s conclusion in Authors Guild v. Google, Inc. (“Google

Books”). There, plaintiff alleged that Google committed copyright infringement by creating

digital scans of books to create a new search engine. Id. at 208–29. The district court granted

plaintiffs’ Rule 23 certification motion prior to summary judgment, based in part on the

suggestion that fair use could be resolved on a classwide basis. 282 F.R.D. 384, 394 (S.D.N.Y.
2012). But the Second Circuit later vacated the class certification order, holding that the district

court’s attempt to grapple with Rule 23’s detailed requirements was premature in light of the

likelihood that those issues would be “necessarily inform[ed] and perhaps moot[ed]” by

“resolution of [the] fair use defense in the first instance” under Rule 56. 721 F.3d at 134

(emphasis added). The district court ultimately granted summary judgment to Google on fair

use, entirely mooting the class certification question. See 804 F.3d at 207–08.

       The issue of fair use of copyrighted material in training OpenAI’s large language models

arises in both the Books and News Cases. That overlap counsels in favor of sequencing summary

judgment before class certification. Were the Court to certify a class without having decided the

overlapping fair use issues first, Defendants respectfully submit that the Second Circuit would be

likely to grant Rule 23(f) review, stalling proceedings for all parties in these centralized matters

in the meantime. Class Counsel do not explain why it is necessary, appropriate, or the best use

of the Court’s resources to deviate from the process the Second Circuit directed in Google Books

when the summary judgment proceedings will likely inform whether Plaintiffs could meet their

burden of establishing all Rule 23 requirements. Notably, even a partial summary judgment

order would narrow the issues and/or parties involved in certification questions. See Waite v.

UMG Recordings, 2023 WL 1069690 (S.D.N.Y. 2023) (court granted summary judgment as to

one of seven class representatives, then adjudicated (and denied) class certification without

needing to consider that plaintiff’s allegations). Whether or not summary judgment is


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dispositive, the Court’s consideration of that motion will clarify whether the disputed issues

(like, for example, ownership, market harm, or substantial similarity between accused outputs (if

any) and Plaintiffs’ works) can be resolved on a class-wide basis through class-wide proof. If

class certification is sequenced before summary judgment, the Court would have to rule based on

hypothetical resolution of those issues (and others) and potentially have to revisit the ruling later

based on summary judgment developments.

       Plaintiffs’ citations to two California cases—the Tremblay matter and the Anthropic

matter—do not counsel for a different result. California courts, unlike this Court which is

controlled by the Second Circuit’s decision in Google Books, have taken a variety of approaches

to the sequencing question. While the two cases Plaintiffs cite elected to sequence class

certification either before or simultaneously with summary judgment, others have not. At least

three California courts have sequenced summary judgment before class certification: Judge

Chhabria in Kadrey v. Meta, Judge Breyer in O’Nan v. Databricks, and Judge Tigar in

Nazemanian v. nVidia. In short, numerous courts both inside and outside this District have

elected to sequence summary judgment before class certification in AI copyright matters–and

this Court should do the same.

       Bifurcation. Microsoft proposes that discovery on damages be bifurcated and that such

discovery take place after summary judgment and class certification have been resolved and the

scope of any potential damages claim is established. OpenAI does not oppose. To be clear,

Microsoft recognizes that certain discovery related to actual damages overlaps with the fair use

fourth-factor, particularly documents related to the market and potential markets for the works.

Microsoft has already produced significant documents on these topics and will not use

bifurcation of damages as an excuse to exclude such material from the scope of production.

Rather, Microsoft’s request is aimed primarily at disgorgement of profits. Discovery relating to

this remedy could vary widely depending on the claims and/or plaintiffs remaining in the case,

and it is exceedingly burdensome and has no relevance to issues of fair use. It is particularly

burdensome for Microsoft, since the latest proposed scope of the claims would involve numerous


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additional product lines throughout the company. To be clear, Microsoft has objected to such

discovery on relevance grounds because no Plaintiff could establish the required causation

between infringement of a work-in-suit and Microsoft’s company revenues. AG Dkt. 374.

Nevertheless, if required, producing discovery on disgorgement would involve product-line

financials, including revenue and cost allocations by product. Determining and locating that

level of material requires first isolating the products using the models at issue, determining the

applicable dates, determining line item revenue for products across Microsoft that vary widely in

terms of scope and are managed by different teams, all despite the fact that the company often

does not keep records in that form in the regular course of business, and then identifying and

allocating costs across those product lines, again despite the business maintaining financials that

are not designed to match that task. None of this is necessary at this stage of the case and is

likely to lead to extensive motion practice. There is no harm or prejudice to delaying this type of

discovery until after summary judgment and class certification.

          Reply Expert Reports. Assuming discovery concerning damages as noted above is

bifurcated, Defendants’ proposed schedule provides for three rounds of expert reports—opening

reports, rebuttal reports, and reply reports— and expert depositions conducted in the four months

following the close of fact discovery; and the sequencing of summary judgment before class

certification, per the Court’s previous order in the Authors Guild case. See infra Section II.D;

AG Dkt. 56. If discovery concerning damages is not bifurcated, then Microsoft’s proposal for

damages reports includes four rounds to address the shifting burdens of proof under Section

504(b).

          Contrary to Plaintiffs’ suggestion, reply expert reports are necessary and will benefit the

parties and the Court for multiple reasons. First, if the Court declines to bifurcate damages, reply

reports are necessary because of the burden-shifting framework for disgorgement set forth in the

Copyright Act. Under 17 U.S.C. § 504(b), plaintiffs have the initial burden of presenting proof of

the alleged “infringer’s gross revenue.” Plaintiffs need to address that issue in an opening expert

report. The burden then shifts to the defendants to prove “deductible expenses and the elements


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of profit attributable to factors other than the copyrighted work.” Id. Defendants would address

those issues in a rebuttal report. If plaintiffs intend to offer any expert opinion regarding

Defendants’ deductible expenses and apportionment of profits, they would need to do so in a

reply report.

       Furthermore, regardless of whether the Court bifurcates damages, reply reports will

significantly benefit the parties and the Court by ensuring that the issues are properly joined and

there is a complete record for summary judgment and, if necessary, trial. This is especially true

for fair use. Because fair use is an affirmative defense, Defendants intend to address that defense

in their opening expert reports, which will be served at the same Plaintiffs serve their opening

reports on copyright infringement and damages. Defendants cannot predict exactly what acts of

alleged infringement Plaintiffs will address in their opening reports or what they will claim as

damages or harm for any such acts. Reply reports on fair use will provide an opportunity to

respond to the claims and theories of harm that Plaintiffs actually pursue and ensure that both

parties are focused on the same conduct and claimed harm rather than talking past each other.

This will benefit the Court and the parties in addressing the important issue of fair use.

       Reply reports would not add unnecessary delay, as Plaintiffs suggest. The parties can and

should work together to propose a reasonable schedule that allows for reply reports without

adding any significant delay. Nothing in Rule 26 prohibits this and the Court has wide discretion

to structure expert discovery in a way that will ensure “a just, speedy, and inexpensive”

resolution of these cases. See Fed. R. Civ. P. 1; see also Pharmacychecker.com, LLC v. Nat’l

Ass’n of Bds of Pharm., 2021 WL 2477070, at *1 (S.D.N.Y. June 17, 2021) (“A district court has

broad discretion to manage pre-trial discovery.”) (quoting Wood v. F.B.I., 432 F.3d 78, 84 (2d

Cir. 2005)); Graham v. Prince, 15-CV-10160-SHS, ECF 67 (S.D.N.Y. Aug. 29, 2017)

(providing for “[r]eply expert reports” after completion of responsive expert reports) (Stein, J.).

       Plaintiffs’ Unrealistic Schedule. Plaintiffs opposed MDL treatment for these cases by

arguing that the end of discovery is close at hand. Yet Plaintiffs’ Counsel conceded in response

to questioning by the JPML that document discovery is not close to complete and that they


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intend to take over 100 more depositions, and the JPML recognized the need for centralization.

Yet, Plaintiffs’ proposal returns to the fiction that discovery can be completed in short order.

That is not true even with respect to Plaintiffs’ claims as currently pleaded, and it would be even

further from the truth if Plaintiffs follow through on their proposal to expand the scope of these

cases.

         As explained above, the Court should reject Class Plaintiffs’ invitation to flip the current

order in which the Court will address summary judgment and class certification. Even on its

face, moreover, Class Plaintiffs’ new proposal to have class certification briefing before fact

discovery has closed and before expert discovery has even begun is infeasible. Class

certification briefing will rely on the factual record and likely will involve competing expert

reports. Plaintiffs’ schedule also does not take account of the near-certainty of a Rule 23(f)

petition, especially if the Court were to conduct class certification proceedings prior to ruling on

summary judgment in the same manner the Second Circuit found inappropriate in Google Books.

         Plaintiffs have also proposed to close all fact discovery in just six months, while at the

same time requesting more than 100 depositions of defense witnesses alone, on top of the

depositions that Defendants will need to take. Under Plaintiffs’ approach, the parties would need

to complete roughly eight depositions per week for the next six months straight. That is not

realistic or appropriate. As another example, Plaintiffs have proposed a June 2025 substantial

completion date, despite knowing that there are hundreds of requests that remain outstanding and

require conferral between the parties. And this assumes that the scope of Class Plaintiffs’ claims

and classes do not change. As noted above, to the extent new or additional claims, products, or

class definitions are permitted, not only would Plaintiffs’ proposed schedule not be workable, but

the Court and the parties would need to revisit and extend the schedule proposed by Defendants

as the parties will be required to conduct significant new document discovery which cannot be

accomplished within the time frames proposed by either side. Plaintiffs also seek to disregard

the local rules on the timing for contention interrogatories, without any good cause for doing

so. See S.D.N.Y. Local Rule 33.3. Plaintiffs’ schedule does not work.


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       Plaintiffs’ proposed schedule is unworkable for several other reasons. First, it requires

motions for summary judgment to be filed before the close of expert discovery. This makes no

sense because summary judgment motions likely will depend in part on expert testimony and the

parties will need to cite deposition testimony from the experts in their summary judgment

motions. Second, Plaintiffs propose that Daubert motions be filed only seven days after the

close of expert discovery. This is impractical because Daubert motions will necessarily depend

on and cite to admissions from expert depositions, and the parties need sufficient time to evaluate

and draft Daubert motions after expert depositions have been completed. Finally, Plaintiffs

propose a different schedule for summary judgment motions and Daubert motions, and, contrary

to this Court’s Local Rules, omit any date for reply briefs in support of Daubert motions. See

Local Civil Rule 6.1(b). Summary judgment and Daubert motions should be filed on the same

date, with sufficient time after the close of expert discovery to draft the motions, and the
schedule should allow for reply briefs for each.

       B.      Pretrial Motions

               1.      Class Plaintiffs’ Proposal
       Authors Guild Plaintiffs will move for class certification. Authors Guild Plaintiffs may

move for summary judgment on discrete issues after careful consideration. For the reasons

explained above, class certification should be briefed before summary judgment.

       Moreover, while no experts have been disclosed under Rule 26, Class Plaintiffs may file

Daubert motions, and Class Plaintiffs also anticipate filing motions in limine in advance of trial.

               2.      News Plaintiffs’ Proposal
       Each News Plaintiff anticipates moving for summary judgment on some or all claims and

defenses. As discussed above, News Plaintiffs respectfully request that summary judgment

briefing in the News Cases not trail class certification in the Class Cases. Specifically, the

resolution of the class certification issue in the Class Cases has no bearing on the News Cases.

       Moreover, while no experts have been disclosed under Rule 26, News Plaintiffs may file




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Daubert motions, and News Plaintiffs also anticipate filing motions in limine in advance of trial.

        Finally, News Plaintiffs may also move for spoliation sanctions to address OpenAI’s

ongoing deletion of output log data. See Dkt. 539 (News Plaintiffs’ May 7, 2025 Letter

addressing this dispute).

                3.     Defendants’ Proposal
        Defendants intend to move for summary judgment on, at a minimum, (a) fair use,

substantial noninfringing uses, and DMCA § 512 safe harbor in response to Plaintiffs’ copyright

claims; (b) lack of scienter in response to Plaintiffs’ DMCA § 1202 claims; (c) lack of trademark

use, lack of fame, lack of likely dilution on News Plaintiffs’ trademark claims. 28 As explained in

Section V.A.2 above, Defendants respectfully request summary judgement be briefed before

class certification.

VI.     SETTLEMENT DISCUSSIONS AND MEDIATION/ARBITRATION
        Plaintiffs and OpenAI attended a settlement conference in the consolidated Tremblay

matters with Magistrate Judge Sallie Kim of the Northern District of California on June 18,

2024. No settlement was reached.

        Plaintiffs in the consolidated Tremblay matters, the consolidated Authors Guild matters,
The Times, The Intercept, and OpenAI have engaged in subsequent alternative dispute resolution

efforts, but those efforts have not resolved the matters.

        The parties believe further mediation or settlement conferences are premature at this

time.

VII.    RELATED ACTIONS

        A.      Ziff Davis, Inc. et al. v. OpenAI, Inc. et al. (D. Del. filed Apr. 24, 2025)
        On April 30, 2025, OpenAI filed a Notice of Potential Tag-Along Action with the

Judicial Panel on Multidistrict Litigation. See In re OpenAI Inc. Copyright Infringement Litig.,



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  Defendants may also bring Daubert motions or seek leave to file additional motions for
summary judgment.


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MDL No. 3143, Dkt. 87. The JPML issued a Conditional Transfer Notice on May 6, 2025, id.

Dkt. 88, which was finalized on May 14, 2025, and entered on this Court’s docket on May 16,

2024. Dkt. 41. Liaison Counsel for the News Plaintiffs has already been in touch with counsel

for Ziff Davis to ensure their inclusion in the MDL is smooth.

       B.      Procedure for Identifying Future Related Actions
       If the parties become aware of any additional related actions, they will promptly evaluate

whether filing a Notice of Potential Tag-Along Action with the JPML is appropriate.

VIII. PARTIES AND AFFILIATES
       See attached Exhibit C.

IX.    ADDITIONAL CONTENT

       A.      Plaintiffs’ Issues

               1.      Deposition Protocol

                       a.     Plaintiffs’ Position
       Prior to the MDL panel issuing its order, the parties had met and conferred at length

about an appropriate deposition protocol for this case. On March 7, counsel for OpenAI,

Microsoft, the SDNY class and the News cases (NYT, DN, CIR and, together with the SDNY
class “NY plaintiffs”) met in Judge Wang’s courtroom to further confer about efforts to

coordinate depositions across cases and with the N.D. Cal. class case. The parties left with a draft

term sheet and reported to the Court that the parties were close to an agreement that

contemplated Defendants’ witnesses sitting for one deposition across the cases where feasible,

with specific hours caps allocated to News Plaintiffs, SDNY class plaintiffs, and N.D. Cal. class

plaintiffs. The parties ultimately did not reach agreement because of a dispute about the ability of

the New York plaintiffs to take OpenAI 30(b)(6) depositions on the N.D. Cal. Schedule, before

OpenAI’s substantial completion of document production. For that reason, only a very limited

number of depositions have been taken to date. Now that the cases have been consolidated into

an MDL, Plaintiffs are in the process of compiling a revised proposal, which they will share with




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Defendants ahead of the May 22 conference, and will diligently meet and confer with

Defendants thereafter. Plaintiffs respectfully request that the Court order all parties to file by

June 5, 2025 a stipulated deposition protocol or, if the parties are not able to reach agreement, to

cross-file 5-page letter briefs regarding a deposition protocol for final decision by the Court.

                       b.      Defendants’ Position
       A central reason for this MDL proceeding has been the Parties’ inability to agree upon an

appropriate deposition protocol, primarily because of the cases proceeding on different schedules

in different jurisdictions, and Plaintiffs’ related inability to informally coordinate among

themselves. Unfortunately, that conduct has continued since the MDL order, with the various

plaintiffs serving 24 subpoenas on 13 former employees without any coordination whatsoever.

       Defendants agree that Magistrate Judge Wang should order, either upon the Parties’

stipulation or after appropriate briefing, a comprehensive deposition protocol in which each

individual witness sits for a single, coordinated deposition attended or represented by any party

seeking to question the witness. Defendants are in the process of preparing a revised protocol

proposal, which they will share with Plaintiffs ahead of the May 22 conference, and will

diligently meet and confer with Plaintiffs thereafter. Magistrate Judge Wang has overseen the

process for the negotiation of the deposition protocol to date, including two settlement

conferences to facilitate the Parties’ discussions, and is familiar with the issues and the Parties’

respective concerns and positions. Accordingly, Defendants see no reason to deviate from that

process and respectfully request that Magistrate Judge Wang address and oversee the process for

proceeding to resolution on the protocol and that it be included as an agenda item for the May 27

status conference before her Honor.

               2.      Protective Order

                       a.      Plaintiffs’ Position
       Orders providing for the production and use of confidential discovery material have

previously been entered in the cases prior to JPML’s order. Despite that, Defendants objected to




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Plaintiffs sharing or having access to material produced in other cases. This has caused

unnecessary expense and delay. Now that the cases are consolidated for pretrial purposes, there

is no reason to perpetuate this. For all cases in which discovery is open and the parties are

subject to a court-entered protective order, Plaintiffs’ attorneys should be permitted to discuss

material designated confidential or highly confidential under their respective protective

orders. For the avoidance of doubt, this would exclude any cases where discovery is not yet open

(unless and until discovery opens in such cases and a protective order is entered) and would not

permit plaintiffs in cases in which Microsoft is a defendant to discuss materials which Microsoft

has designated with plaintiffs in cases in which Microsoft is not (or is not yet) a defendant. But,

if a plaintiff retains an attorney or expert for multiple cases in the MDL, where Microsoft is a

party in some cases but not others, Plaintiffs may discuss material designated confidential or

highly confidential by Microsoft with those attorneys and experts provided that those attorneys

and experts do not discuss that material with the parties in cases where Microsoft is not a

defendant.

       In addition, both Defendants should cross-produce all of their documents across all MDL

cases in which they are a defendant with the same bates prefix. Both of these measures are

critical for Plaintiffs to implement the coordination that Defendants say they desire.

       If Plaintiffs cannot, for practical or protective-order reasons, discuss confidential material

with one another, they cannot be expected to coordinate on depositions, subpoenas, or requests

for production.

       Defendants have refused these requests. The only explanation given by either Defendant

for that refusal was a vague reference by OpenAI to supposed third-party issues. Microsoft gave

no reason at all. OpenAI has failed to explain what these third-party issues might be or why the

current protective orders do not resolve them. Defendants’ refusal to allow Plaintiffs to fully

collaborate gives the lie to their claim, advanced in their briefing before the JPML, that they seek

to streamline these cases and limit the burden on Defendants. Instead, their goal is to hamstring

Plaintiffs’ prosecution of this action, even where such measures would promote efficiency. The


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Court should order Defendants to cross-produce all documents across all cases in this MDL and

allow fulsome discussions and exchanges among Plaintiffs.

       Plaintiffs believe this issue has been fully discussed among counsel, and briefed to the

Court. See Dkt. 347; 380. And thus request the Court order the requested relief at the May 22,

2025, conference. If the Court is unwilling to decide this issue on the current papers, Plaintiffs

respectfully request the Court order all parties to cross-file 2-page letter briefs regarding relief

under the protective order by May 29, 2025, for final decision by the Court.

       Plaintiffs agree with Defendants that an omnibus protective order would be valuable and

will participate in good faith negotiations to arrive at a stipulated protective order. To the extent

the parties are not able to reach agreement, such omnibus protective order should be subject to

the June 5, 2025 briefing date.

       If the Court orders cross-production and authorizes plenary discussions prior to the entry

of an omnibus protective order, Plaintiffs should be permitted to discuss and exchange protective

order materials prior to the entry of such order, with all exchanges and discussions of protective

order material in that period subject to the highest level of protection under any of the protective

order provisions to which such material is subject until the omnibus is entered.

                       b.      Defendants’ Position
       Defendants agree the Court should enter an omnibus stipulated protective order to govern

the use and disclosure of confidential materials in the MDL. Continuing to operate under

multiple different protective orders, entered by different Courts, and with different requirements,

is not workable. Far from refusing to engage with Plaintiffs on this issue, Defendants have

offered to draft an omnibus protective order—along with an omnibus ESI protocol—and will be

ready to share drafts with Plaintiffs imminently.

       Despite their agreement that an omnibus protective order is necessary, Plaintiffs

nevertheless ask the Court to order Defendants to immediately re-produce millions of documents

with a new Bates-prefix. Plaintiffs do not offer to reciprocate. Had Plaintiffs waited to review




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Defendants’ draft proposed orders, they would know that Defendants intend to reproduce

discovery materials across the consolidated cases, but it makes no sense to try to do so subject to

four distinct protective orders and ESI protocols. Similarly, as Plaintiffs acknowledge, the

reality is the parties have to work through certain issues, including that not all Plaintiffs have

claims against Microsoft (and thus any need for its discovery materials), and Defendants have

contractual notice obligations they must satisfy before disclosing certain third-party materials to

additional parties.

        The Court should allow the negotiation process to take its course so that the parties can

work through these issues. The parties can do so efficiently and Defendants have no objection to

a June 5, 2025, deadline to submit a proposed stipulated protective order and ESI protocol, or

competing proposals.

        Finally, Plaintiffs propose that, until an omnibus protective order is entered, outside

counsel for Plaintiffs in actions with open discovery should be allowed to discuss Defendants’

confidential materials, provided they afford them the highest level of confidentiality protection

available under an existing protective order. 29 While that approach may be workable for certain
discovery materials, for others, Defendants would still have to comply with notice obligations to

third parties first. It makes sense to do so with the benefit of the omnibus protective order that

all parties (and non-parties) can reference and follow. With that being said, Defendants have

been, and remain, willing to work with Plaintiffs’ counsel to ensure they have what they need for

coordination. For example, when counsel for Class Plaintiffs asked to exchange draft complaints

and a limited universe of underlying confidential materials, Defendants agreed so that Class

Plaintiffs could make progress on a Consolidated Class Complaint. There is no need to order

Defendants to reproduce discovery or share highly sensitive materials without an omnibus



29
  Defendants interpret Plaintiffs’ proposal to mean all confidential materials would be treated as
“Highly Confidential – Outside Counsel’s Eyes Only” under the modified protective order
entered in the Authors Guild cases, until an omnibus protective order is entered in the MDL. See
AG, Dkt. 338.



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protective order and ESI protocol in place. Doing so is certain to cause confusion and waste.

               3.      Status of Discovery

                       a.      Plaintiffs’ Position
       Neither the Times, nor the Daily News, nor Authors Guild Class Plaintiffs have received

a non-overlay production from OpenAI since April 1, six weeks ago. N.D. Cal. Class Plaintiffs

have likewise not received any new documents in response to RFPs. Other than productions of

plaintiff-specific training data, CIR and Intercept have not received anything either. OpenAI has

ignored emails requesting meet and confers or refused to provide dates, and at the few meet-and-

confers it has agreed to attend, it has refused to advance discovery during this period. Microsoft

has not made a production of its own documents to Authors Guild since April 14, 2025.

Defendants assert that they have proceeded with discovery, but they do not deny that they have

halted document discovery. As for their suggestion that they have not ignored Plaintiffs requests

to meet and confer, it is belied by their own example: OpenAI’s correspondence with Authors

Guild Plaintiffs about their RFPs “just 3 days ago” was only after Plaintiffs followed up, and in

that email OpenAI refused to provide a date to meet-and-confer as Plaintiffs had requested.

Plaintiffs believe that this unilateral stay of discovery is inappropriate and respectfully request
that the Court clarify at the May 22, 2025 hearing that this unilateral stay cannot stand.

                       b.      Defendants’ Position
       Plaintiffs’ suggestion that Defendants have engaged in a unilateral stay is both frivolous

and false.

       Microsoft answered the pleadings against it, has continued to review documents and

prepare them for production, has held multiple discovery meet and confers, has served and

responded to written discovery, and has led the negotiations regarding a comprehensive

deposition protocol. In addition, Microsoft has produced source code for inspection. As soon as

Microsoft has guidance regarding cross-production and the scope of the cases to which it is a

party, it will be able to label documents and resume production.




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       Similarly, the allegation as to OpenAI is as frivolous as it is non-specific. Since the entry

of the MDL order, OpenAI has served two sets of RFA responses, four sets of RFP responses,

and two sets of interrogatory responses across the various cases, among other discovery

materials, and has produced thousands of documents. OpenAI has also made training data

available for inspection on numerous occasions and expects to make further document

productions prior to the May 22 conference. Nor has OpenAI been ignoring requests to meet and

confer, as Plaintiffs disingenuously suggest. To the contrary, OpenAI has met and conferred

with Plaintiffs on a variety of their discovery requests (a demand for a new custodian, a demand

for supplemental interrogatory responses, and documents/data requests), including on April 21,

May 1, May 2, May 5, and May 15, to say nothing of the numerous emails it has exchanged with

various Plaintiffs about their respective discovery demands. For example, OpenAI most recently

corresponded with The Times and the Authors Guild Plaintiffs about their respective RFPs just 3

days ago. And OpenAI offered to meet and confer with the Intercept Plaintiff four days ago

about its discovery requests, but the Intercept has not responded. These efforts demonstrate an

effort to “advance discovery,” notwithstanding Plaintiffs’ incorrect suggestion otherwise.

       Plaintiffs’ verifiably false assertion that OpenAI has been “ignor[ing] emails” is

particularly surprising given Plaintiffs’ failure to follow up in a timely manner on their own

requests. For example, OpenAI met and conferred with The Times on The Times’ demand for

yet another custodian on April 21, and though The Times represented it would follow up on the

conference, it did not do so for over three weeks. Similarly, OpenAI met with the N.D. Cal.

Plaintiffs on May 2 to discuss a laundry list of their discovery requests but have yet to hear

anything since. The Author’s Guild Plaintiffs only began corresponding with OpenAI about

their discovery requests last week. In other words, they said nothing about their discovery

requests for over a month after receiving the MDL Order. For their part, Plaintiffs have not

cooperated with OpenAI on various of their own discovery deficiencies. For example, the Daily

News Plaintiffs have failed to respond to a deficiency letter OpenAI sent more than three weeks

ago. OpenAI intends to continue working with Plaintiffs to resolve these disputes without the


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need for Court intervention and hopes Plaintiffs will cooperate in that attempt rather than

continue casting aspersions.

               4.      Third Party Discovery

                       a.      Plaintiffs’ Position
       Third-party discovery is ongoing. Plaintiffs have served subpoenas on OpenAI and

Microsoft former employees and various publishing companies and financial institutions.

Contrary to Defendants’ statements, Plaintiffs have been coordinating closely on third-party

discovery, as exemplified by the fact that the subpoenas served have been identical or nearly so,

the presence of a representative of each News, Authors Guild and Tremblay Plaintiffs on each

meet-and-confer for several weeks, and the establishment of a subpoena subgroup that has been

on every recent email with former employees. Though many of Plaintiffs’ document subpoenas

to former employees were served several months ago, several former employees (including third

parties represented by OpenAI’s counsel at Keker, Van Nest, & Peters) have yet to produce a

single document and cannot provide any timeline for their productions. Many of these third

parties cite CMO No. 1, potential consolidation of complaints in the MDL, and unidentified

concerns with the various protective orders as bases for their delayed productions. Plaintiffs
disagree that there is any basis for third parties to delay producing documents that Plaintiffs

requested months ago and respectfully request the Court issue guidance to the effect that third
parties are expected to participate in good faith in discovery now.

                       b.      Defendants’ Position
       As Plaintiffs note, third-party discovery is ongoing. Unfortunately, Plaintiffs have not

coordinated on third-party discovery. Since the April 3, 2025 MDL order, Plaintiffs served 24

subpoenas on 13 different former OpenAI and Microsoft employees. The third parties’ counsel,

have been meeting and conferring with Plaintiffs regarding those subpoenas.




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               5.      Discovery Conferences

                       a.     Plaintiffs’ Position
       Plaintiffs respectfully renew their request for ongoing discovery hearings with Magistrate

Judge Wang. See Times Dkt. 243 (denying “without prejudice” Plaintiffs’ “motion for bi-

monthly status conferences”). Plaintiffs submit that monthly conferences through the close of

fact discovery will ensure the parties conclude discovery as quickly and efficiently as possible.

       Courts often schedule regular discovery conferences in cases like these which generate

numerous disputes. E.g., Matter of Skanska USA Civ. Se. Inc., 2023 WL 7131834, at *3 (N.D.

Fla. Oct. 27, 2023) (recapping “weekly discovery conferences,” which “ensur[ed] the parties

stayed on track for trial with their discovery and that discovery disputes were handled

expeditiously”); Syntel Sterling Best Shores Mauritius Ltd. v. TriZetto Grp., 328 F.R.D. 100, 105

n.3 (S.D.N.Y. 2018) (describing how the magistrate judge “held regular, monthly telephone

conferences with the parties,” where, “[p]rior to each conference, the parties would submit a

Joint Letter regarding any discovery disputes to be discussed during the conference.”).

       As the parties resume depositions, it is likely that new disputes will arise, including

disputes over apex witness arguments and disputes concerning requests that arise from

deposition testimony. Monthly discovery conferences will ensure that depositions proceed apace.

Moreover, agreements are often reached on the eve of discovery hearings, which means that even

the specter of ongoing conferences will likely minimize disputes and keep discovery moving

quickly toward conclusion.

       If the Court is willing to schedule monthly conferences, Plaintiffs respectfully request the

Court provide advance notice—e.g., holding conferences the first Tuesday of every month—to

the extent it is feasible, to accommodate the schedules of the many lawyers involved in this

MDL, many of whom are not local to the New York area.

                       b.     Defendants’ Position
       Magistrate Judge Wang has been conducting regular discovery conferences. Plaintiffs

seem to request that this Court should direct Judge Wang to hold conferences more frequently,



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but Defendants do not believe such a direction is necessary or appropriate. Judge Wang is in the

best position to determine whether, and when, discovery conferences are needed. Over the past

year, Magistrate Judge Wang held numerous conferences, including on September 12, 2024,

October 30, 2024, December 3, 2024, January 22, 2025, January 31, 2025, and March 7, 2025.

The parties are scheduled to appear again on May 27, 2025. There is no need to impose a

burdensome, recurring process on the Court and the parties, and Magistrate Judge Wang

previously rejected a similar proposal from Plaintiffs for a set monthly schedule. See Dkt. 243.

       Monthly discovery conferences will not result in more expeditious resolution of

discovery. As the Parties and the Court are well aware, preparing for and attending each

discovery conference entails an enormous investment of time and resources for the parties and

Magistrate Judge Wang. Requiring such conferences on a monthly basis will divert precious

resources from the pressing work of wrapping up discovery and moving the case forward.

Should Magistrate Judge Wang determine conferences are needed, she is best positioned to

determine the cadence at which they occur. Forcing such conferences to happen on an artificial

schedule every month may incentivize less compromise, not more.

               6.      Ziff Davis Case

                       a.     Plaintiffs’ Position
       Ziff Davis filed its complaint against the OpenAI Defendants on April 24, 2025, in the
U.S. District Court for the District of Delaware. The JPML issued a conditional transfer order on

May 6, 2025, which was finalized on May 14, 2025. As such, OpenAI has not yet responded to

Ziff Davis’s pleading and fact discovery has not yet commenced.

       Ziff Davis generally supports the schedule proposed by Plaintiffs, including the fact

discovery cutoff and subsequent deadlines. Ziff Davis has not yet received access to OpenAI’s

document production or confidential discovery responses, which are subject to protective orders.

Upon receiving those materials, Ziff Davis will diligently review them so that it can promptly

serve its own initial non-duplicative discovery requests. It will likewise endeavor to diligently




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respond to any discovery requests propounded by OpenAI. Ziff Davis proposes to meet-and-

confer with OpenAI after the parties exchange initial requests in order to set a further timetable

for substantial completion of productions, as well as to discuss other interim deadlines (if

necessary) that may be applicable, including with respect to discovery and amendments to the

pleadings.

       In order to facilitate this process—and so that Ziff Davis can promptly participate in any

on-going discovery—Ziff Davis asks that the Court deem fact discovery “open” in the Ziff Davis

case. Counsel for Ziff Davis has already reached out to counsel for OpenAI to request access to

materials previously produced in the consolidated cases. In the meantime, Ziff Davis and its

counsel have agreed to comply with the relevant protective orders and procedures with respect to

any such discovery materials produced, pending the opening of discovery in this case.

       Given that it has not received (much less reviewed) any discovery material, Ziff Davis

also reserves the right to seek limited accommodations from the Court in the event that there are

discovery delays beyond its control, to ensure that Ziff Davis can effectively complete fact

discovery without suffering any prejudice to its claims. Ziff Davis likewise reserves the right to

seek supplementation as to any on-going discovery disputes, if necessary.

       OpenAI argues that the inclusion of the Ziff Davis case may “upset the course of this

consolidated action” despite that (1) OpenAI is the party that sought consolidation in an MDL in

the first instance; (2) OpenAI initiated the transfer of the Ziff Davis case by filing a Notice of

Potential Tag-along Action in the JPML, stating its belief that the cases share common questions

of law and fact; (3) addition of tag-along cases to MDL proceedings is routine and expected; (4)

the transfer has occurred before the initial case management conference; and (5) Ziff Davis is

willing for fact discovery to proceed in parallel with any OpenAI Rule 12 motion (due May 20,

2025). While OpenAI complains that it has not had the opportunity to serve discovery on Ziff

Davis, Ziff Davis is willing to begin fact discovery immediately (see Fed. R. Civ. P. 26(d)(1),

allowing parties to stipulate to begin discovery at any time), and as noted above, asks this Court

to declare discovery in this case open immediately.


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        OpenAI’s stated concerns culminate in an extraordinary proposal: That the newly-transfer

case be stayed (without indicating how long or for what purposes) or that Ziff Davis be in some

way prevented from litigating any claims that are not already being litigated by other Plaintiffs.

Neither proposal has any basis in fact or law. Although OpenAI waited inexplicably long to seek

consolidation in a multi-district litigation, this MDL has just commenced, and this action just

transferred. It appears to be unprecedented to stay a tag-along action transferred into an MDL

this early in the proceeding. Staying this action post-transfer would all but guarantee duplicative

discovery, and thus undermine the very judicial efficiency an MDL aims to achieve and deeply

prejudice Ziff Davis. 30 Further, MDL consolidation clearly does not provide OpenAI with an
opportunity to deprive Ziff Davis of its right to assert a valid cause of action in its own case.

                        b.      Defendants’ Position
        As the Ziff-Davis plaintiffs concede, they only filed their complaint against OpenAI on

April 24, 2025, and OpenAI has not yet responded to the Complaint. While the Ziff-Davis

complaint shares some core issues with the other actions in this coordinated proceeding, it also

includes a different claim that has not been asserted in any other action. OpenAI will have a

Rule 12 motion in response to the Ziff-Davis complaint.

        Ziff-Davis’s tag-along complaint should not upset the course of this consolidated action.

Specifically, nothing about the Ziff-Davis action should permit multiple depositions of any party

or third-party witness, nor should it create a different date for the filing of dispositive motions.

        Ziff-Davis suggests that it can accommodate the schedules proposed here for the

coordinated actions if OpenAI simply makes all the discovery it produced in all actions (whether



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  Indeed, in its original Transfer Motion, OpenAI asserted that “the cases remain in sufficiently similar
procedural posture that Section 1407 makes sense now. While some cases have progressed further in
document discovery than others, modest differences in procedural posture should not be a barrier to
Section 1407 centralization where (1) no case has proceeded to depositions; (2) no expert reports have
been exchanged; (3) no class certification motion has been filed; and (4) no summary judgment motion
has been filed.” Dkt 1-1, MDL No. 3143. Yet having now achieved consolidation, OpenAI apparently
wishes to foreclose the inconvenience of defending any further cases and pervert the MDL process to try
to cut off claims it might face from new parties.



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relevant or not to Ziff-Davis) available to it. But Ziff-Davis ignores that OpenAI has not had the

opportunity to respond to the complaint, or to serve discovery against Ziff-Davis to develop the

record necessary to defend itself against Ziff-Davis’s claims. OpenAI is considering two options

which it will be prepared to discuss at the May 22 conference: staying the Ziff-Davis action in

light of its tardiness, or limiting the scope of its claims to the claims asserted in the other News

actions. Either option would be consistent with using this MDL proceeding to efficiently move

the parties through common issues and discovery.

       B.      Defendants’ Issues
       Defendants have each filed objections to discovery orders in the consolidated New York

Times and Authors Guild cases that remain pending before this Court. See NYT Dkts. 362-363,

368-369, 371-373; AG Dkts. 298-299, 300-301. The resolution of those objections may impact

the scope of discovery.




                                                   Respectfully submitted,

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